 Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 1 of 59

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Filing# 35007133 E-Filed 12/01/2015 02:16:45 PM


                     IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                                IN AND FOR BROWARD COUNTY, FLORIDA

        G. CLIFFORD ABROMATS, individually and as
        Trustee of the Gloria J. Abromats Revocable
        Trust Agreement u/t/d September 15, 2005,
        as amended,
                                                             CASE NO.: PRC150005163
                Plaintiff,                                   DIVISION: PROBATE

        V.


        PHILIP ABROMATS, individually and as
        qualified beneficiary Gloria J. Abromats                                      Date
        Revocable Trust Agreement u/t/d
        September 15, 2005, as amended,
                                                                                      Time
                                                                                      Server's Initials
                Defendant.                                                            Military_v _N
                                                     I
                                                                                      Married _V __N
                                                    SUMMONS

        TO:     Philip Abromats
                750 US HWY 14
                Greybull, WY 82426

                                                    IMPORTANT

                 A lawsuit has been filed against you. You have 20 calendar days after this summons
        is served on you to file a written response to the attached Complaint. A phone call will not
        protect you. Your written response, including the case number given above and the names of
        the parties, must be filed if you want the court to hear your side of the case. If you do not file
        your response on time, you may lose the case, and your wages, money, and property may
        thereafter be taken without further warning from the court. There are other legal requirements.
        You may want to call an attorney right away. If you do not know an attorney, you may call an
        attorney referral service or a legal aid office (listed in the phone book).

                  If you choose to file a written response yourself, at the same time you file your written
        response to the court you must also mail or take a copy of your written response to the
        "Plaintiffs/Plaintiffs' Attorney" named below.

                             PETER J. FORMAN, ESQ.
                             Gutter Chaves Josepher Rubin




              *** FILED: BROWARD COUNTY, FL      HOWARD FORMAN, CLERK 12/1/2015 2:16:42 PM.****
                                                  EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 2 of 59




                   Forman Fleisher Miller PA
                   2101 Corporate Boulevard, Suite 107
                   Boca Raton, FL 33431
                   Telephone: (561) 998-7847

    If the party serving summons has designated e-mail address(es) for service or is represented by
    an attorney, you may designate e-mail address(es) for service by or on you. Service must be in
    accordance with Florida Rule of Judicial Administration 2.516.

    Copies of all court documents in this case, including orders, are available at the Clerk of the
    Circuit Court's office. You may review these documents, upon request.



    THE STATE OF FLORIDA

             TO EACH SHERIFF OF THE STATE: You are commanded to serve this Summons

    and a copy of the Complaint in this lawsuit on the above-named Defendant.



             DATED on����-D_E_C_O_I_2_0_1_5�



                                                HOWARD C. FORMAN
    (SEAL)                                      AS CLERK OF THE COURT



                                                By:
                                                       As Deputy Clerk



                           INSTRUCTIONS CONTINUED ON NEXT PAGE




                                              EXHIBIT A
                                         -- ---- ---       --      ----
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 3 of 59




                                             IMPORTANTE

             Usted ha sido demandado legalmente. Tiene 20 dias, contados a partir del recibo de
    esta notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este
    tribunal. Una llamada telefonica no lo protegera. Si usted desea que el tribunal considere su
    defensa, debe presentar su respuesta por escrito, incluyendo el numero del caso y las nombres
    de las partes interesadas. Si usted no contesta la demanda a tiempo, pudiese perder el caso y
    podria ser despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo
    aviso del tribunal. Existen otros requisites legales. Si lo desea, puede usted consultar a un
    abogado inmediatamente. Si no conoce a un abogado, puede llamar a una de las oficinas de
    asistencia legal que aparecen en la guia telefonica.

            Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su
    respuesta ante el bribunal, debera usted enviar por correo o entregar una copia de su
    respuesta a la persona denominada abajo como "Plaintiffs/Plaintiffs' Attorney'' (Demandante o
    Abogado del Demandante).

                   PETER J. FORMAN, ESQ.
                   Gutter Chaves Josepher Rubin
                   Forman Fleisher Miller P.A.
                   2101 Corporate Boulevard, Suite 107
                   Boca Raton, FL 33431
                   Telephone: (561) 998-7847



                                              IMPORTANT

             Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours
    consecutifs a partir de la date de !'assignation de cette citation pour deposer une reponse ecrite
    a la plainte ci-jointe aupres de ce tribunal. Un simple coup de telephone est insuffisant pour
    vous proteger. Vous etes oblige de deposer votre reponse ecrite, avec mention du numero de
    dossier ci-dessus et du nom des parties nommees ici, si vous souhaitez que le tribunal entende
    votre cause. Si vous ne deposez pas votre reponse ecrite dans le relai requis, vous risquez de
    perdre la cause ainsi que votre salaire, votre argent, et vos biens peuvent etre saisis par la
    suite, sans aucun preavis ulterieur du tribunal. II y a d'autres obligations juridiques et vous
    pouvez requerir les services immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous
    pourriez telephoner a un service de reference d'avocats ou a un bureau d'assistance juridique
    (figurant a l'annuaire de telephones).

           Si vous choisissez de deposer vous-meme une reponse ecrite, ii vous faudra
    egalement, en meme temps que cette formalite, faire parvenir ou expedier une copie de votre




                                               EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 4 of 59




     reponse ecrite au "Plaintiffs/Plaintiffs' Attorney" (Plaignant ou a son avocat) nomme di-dessous.

                               PETER J. FORMAN, ESQ.
                               Gutter Chaves Josepher Rubin
                               Forman Fleisher Miller P.A.
                               2101 Corporate Boulevard, Suite 107
                               Boca Raton, FL 33431
                               Telephone: (561) 998-7847

     F:WPDATA\PJF\\Abromatss\summon to Philip.Joe




                                                        EXHIBIT A
     Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 5 of 59
filing# 34688503 E-Filed 11/19/2015 06:22:30 PM


                     IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                                IN AND FOR BROWARD COUNTY, FLORIDA

       G. CLIFFORD ABROMATS, individually and as
       Trustee of the Gloria J. Abromats Revocable
       Trust Agreement u/t/d September 15, 2005,
       as amended,
                                                               CASE NO.:
              Plaintiff,                                       DIVISION:

       V.


       PHILIP ABROMATS, individually and as
       qualified beneficiary Gloria J. Abromats
       Revocable Trust Agreement u/t/d
       September 15, 2005, as amended,

              Defendant.

                                                      COMPLAINT

              Plaintiff, G. CLIFFORD ABROMATS, individually and as Trustee of the Gloria J. Abromats

       Revocable Trust Agreement u/t/d September 15, 2005, as amended ("Plaintiff'), by and through

       undersigned counsel, hereby files this Complaint. As grounds thereof, Plaintiff states as follows:

                                       GENERAL ALLEGATIONS AND PARTIES

              1.           This is a Complaint (1) against Defendant, PHILIP ABROMATS, to set aside and

       declare null and void the September 30, 2011 Amendments (the "September Amendments") to the

       Gloria J. Abromats Revocable Trust Agreement u/t/d September 15, 2005, as amended (the

       "Trust") executed by GLORIA J. ABROMATS (the "Decedent") while she was subject to undue

       influence and at a time when she lacked the necessary mental capacity to execute the Amendment

       and (2) for the approval of Trust accountings prepared by Plaintiff.

              2.       Plaintiff has retained the law firm of Gutter Chaves Josepher Rubin Forman Fleisher

       Miller P.A. and has agreed to pay them a reasonable fee.

              3.           The situs of the Trust is Broward County, Florida.

              4.           The Court has jurisdiction over the parties pursuant to Florida Statutes§ 736.0202,

       and venue is proper in Broward County, Florida, pursuant to Florida Statutes§ 736.0204.




                                                       EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 6 of 59



         5.      Plaintiff is currently serving as Trustee of the Trust and is a qualified beneficiary of

 the Trust.

         6.       Defendant, PHILIP ABROMATS, individually and as purported qualified beneficiary

 of the Trust, is a resident of Wyoming, and is sui juris.

         7.      Pursuant to Florida Statutes § 736.0107 and Article Thirteen of the Trust, Florida

 law governs the Trust.

         8.       On September 15, 2005, the Decedent executed the Trust (attached hereto as

 Exhibit "A").

         9.       On or about January 19, 2011, the Decedent executed an amendment to the Trust,

 removing Defendant as a beneficiary of the Trust (attached hereto as Exhibit "B").

         10.      On or about September 30, 2011, the Decedent purportedly executed the

 September Amendments, substantially altering the prior dispositive Trust provisions and re­

 instating Defendant as a one half beneficiary of the Trust following the Decedent's death (attached

  hereto as Exhibit "C").

         11.      Upon information and belief, the Decedent executed the September Amendments

  at a time when the Decedent was subject to the undue influence of the Defendant and was not

  mentally competent to understand the nature and effect of the Amendments.

         12.      On March 27, 2015, the Decedent died at age 91.

                                        COUNT I: LACK OF CAPACITY

         13.      Plaintiff repeats and re-alleges the allegations set forth in paragraphs 1 through 12

  above, and further alleges as follows.

         14.      Upon information and belief, prior to and during September of 2011, the Decedent

  suffered from severe mental status changes.

         15.      Upon information and belief, the September Amendments were executed on

  September 30, 2011, at a time when the Decedent suffered from severe diminished capacity.

          16.     As a result of the Decedent's diminished physical and mental condition, upon




                                                EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 7 of 59




 information and belief, she was not of sound mind at the time she executed the September

 Amendments.

         17.      Upon information and belief, the September Amendments were executed at a time

 when the Decedent did not comprehend the nature and extent of her assets, the natural objects of

 her bounty, or the effect of the Amendment.

         WHEREFORE, Plaintiff, G. CLIFFORD ABROMATS, individually and as Trustee of the

 Gloria J. Abromats Revocable Trust u/t/d September 15, 2005, as amended, respectfully requests

 the purported September Amendments be set aside and declared null and void and of no effect

 and be canceled of record, for an award of attorney's fees and costs and for such other and further

 relief as this Court may deem just and proper.

                                       COUNT II: UNDUE INFLUENCE

         18.      Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 12

 above, and further alleges:

         19.      The September Amendments were executed at a time when the Decedent was in a

 weakened mental and physical condition.

          20.     Defendant had a confidential relationship with the Decedent.

          21.     Defendant is a substantial beneficiary of the Amendments.

          22.     At the time the Amendments were executed, upon information and belief, the

 Decedent was so controlled by Defendant that he was able to substitute his intentions for the

 Decedent's and procured, by undue influence, the execution of the Amendments in favor of himself

  and to the exclusion of Plaintiff.

          WHEREFORE, Plaintiff, G. CLIFFORD ABROMATS, individually and as Trustee of the

  Gloria J. Abromats Revocable Trust u/t/d September 15, 2005, as amended, respectfully requests

  the purported September Amendments be set aside and declared null and void and of no effect

  and be canceled of record, for an award of reasonable attorney's fees and costs and for such other

  and further relief as this Court may deem just and proper.




                                               EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 8 of 59



                                  COUNT Ill: APPROVAL OF ACCOUNTING

         23.     Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 12

  above, and further alleges:

         24.     Florida Statutes § 736.0201 specifically grants the Court authority to review and

 approve trust accountings. In particular, Florida Statutes § 736.0201 provides, in pertinent part,

  that the Court intervene in the administration of a trust to "review and settle interim or final

  accounts." See§ 736.0201(4)(b), Florida Statutes. In addition, Florida Statutes§ 736.1008(2) and

  the Florida common law allow a court to adjudicate and approve trust accountings.

         25.     Plaintiff is seeking a judgment from this Court approving the Accounting prepared by

  Plaintiff (attached hereto as Exhibit "D") for the period of October 31, 2011 through April 30, 2015

  and discharging Plaintiff of any further responsibility in connection with the approved acts.

         WHEREFORE, Plaintiff, G. CLIFFORD ABROMATS, indvidually and as Trustee of the

  Gloria J. Abromats Revocable Trust u/Ud September 15, 2005, as amended, respectfully requests

  the entry of a final judgment approving the accounting of the Trust for the period of October 31,

  2011 through April 30, 2015, discharging Plaintiff of any further responsibility in connection with the

  approved acts, and for such other and further relief as this Court deems appropriate.

         Dated: November 19, 2015

                                                GUTTER CHAVES JOSEPHER
                                                RUBIN FORMAN FLEISHER P.A.
                                                Attorneys for G. Clifford Abromats, individually and as
                                                Trustee of the Gloria J. Abrmats Revocable Trust
                                                u/a/d September 15, 2005
                                                2101 Corporate Boulevard, Suite 107
                                                Boca Raton, FL 33431
                                                Telephone: (561) 998-7847


                                                BY:     /s/ Peter J. Forman
                                                        PETER J. FORMAN
                                                        Florida Bar No. 180360




                                               EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 9 of 59
          Case 1:15-cv-00904-RJA Document 4-16 Filed 10/26/15 Page 15 of 47




            THE GLORIA J. ABRQMATS REVOCABLE TRUST AGREEMENT


     THIS INDENTURE dated the 15th day of September, 2005, between GLORIA J.
 ABROMATS, of Broward County, Florida (hereinafter called the "Grantor") and GLORIA J.
 ABROMATS, (hereinafter called the "Trustee").

                                         WITNESS ETH:

         WHEREAS, the Grantor desires to create a trust for the pwposes hereinafter mentioned.

       NOW, THEREFORE, the Grantor hereby transfers to the Trustee the property set forth in
 Schedule A hereto annexed, IN TRUST, as follows:


                                            ARTICLE ONE

         THIS AGREEMENT shall be known as The GLORIA J. ABROMATS REVOCABLE
  TRUST AGREEMENT dated September 15, 2005, and it shall be referred to as such in any
  instrument of transfer, deed, assignment or devise.

                                            ARTICLE TWO

          The Grantor desiring to establish this Trust conveyed, transferred, assigned, and delivered
  to the Trustee all of the Grantor's right, title, and interest in the property listed in Schedule ''A" to
  the original of this Agreement, the receipt of which is hereby acknowledged by the Trustee, to have
  and to hold that property, together with any other property transferred to the Trustee under this
  Agreement (referred to collectively as the "trust estate"),in trust for the purposes stated in the
  following Articles.

                                           ARTICLE THREE

          Subject to the willingness of the Trustee to accept the assets, the Grantor or any other person
  has the right at any time and from time to time to add any other real or personal property to the
  principal of the trust estate by gift or devise. All additions shall be held> invested, administered, and
  distributed in accordance with the provisions of this Agreement, unless otherwise specifically
  provided in the conveyance to the trust.

                                            ARTICLE FOUR

         The Grantor is married to GEORGE E. ABROMATS, (who is referred to as "Grantor's
  spouse" in this instnunent).

                                                      I


                                                                                            EXHIBIT A
                                              EXHIBIT 16
                                                EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 10 of 59
          Case 1:15-cv-00904-RJA Document 4-16 Filed 10/26/15 Page 16 of 47



                                             ARTICLE FIVE

         A.       Alteration, Revocation, or Amendment. Grantor reserves the right to alter, amendt
  or revoke this Trust Agreement, at any time and from time to time, either in whole or in part, without
  the consent of the Trustee or any beneficiary hereunder, by written notice to the Trustee to that effect.
  Grantor also reserves the right and power to withdraw any asset deposited hereunder without the
  consent of any beneficiary hereunder.

          B.       Grantor's Reserved Powers Over Trust Management. If at any time during the
  continuance of this trust someone other than Grantor is serving as a Trustee hereunder, then the
  powers of the Trustee shall be subject to the following limitation. During Grantor's lifetime, except
  during any period ofGrantor's incompetency or incapacity due to illness, the Trustee shall not sell,
  invest, or reinvest any part of the trust estate without the prior approval ofGrantor, and the Trustee
  shall follow any written direction ofGrantor with respect to the sale, investment, or reinvestment of
  the trust estate. Failure ofGrantor to disapprove in writing a recommendation by the Trustee within
  ten (10) days after the mailing thereof to Grantor shall constitute approval of the recommendation.

                 The Trustee shall not be accountable for losses sustained because of action taken or
  not taken pursuant to the exercise byGrantor ofGrantor's power over the management of the trust
  estate as provided herein. No person dealing with the Trustee need inquire whether or not the
  requirements of paragraph B of this Article Five have been complied with.

          C.     Personal to Grantor. No person (including a guardian or conservator of Grantor) other
   than Grantor may exercise any of the rights reserved toGrantor by the provisions of this Article Five.

                                              ARTICLE SIX

          The Trustee shall hold, manage, invest, and reinvest the trust assets and shall collect and
  distribute such of the net income and principal of the trust to Grantor or any other person that
  Grantor may from time to time request. If the Grantor becomes incapacitated, for as long as the
  incapacity continues, the Trustee shall pay to or apply for the benefit of the Grantor or ofGrantor's
  dependents such sums from the income or principal of the trust estate as the Trustee in the Trustee's
  sole and absolute discretion deems appropriate for the care, support, comfort, maintenance, and
  general welfare of the Grantor or ofGrantor's dependents, taking into consideration the standard of
  living to which the Grantor and Grantor's dependents are then accustomed. Such payments shall
  include, but are not limited to, direct paym�nts: to any landlord, hotel keeper, hospital, or nursing
  home; for services rendered in connection with any medical or dental care; for any and all bills for
  services rendered in furnishing food, clothing, transportation, educational expenses, legal services,
  or any other services needed or required, upon proper substantiation by those performing the
  services; and for preparation ofreturns and payment of any and all taxes which Orantor and Grantor's
  dependents may be obligated to pay under the provisions of any applicable state or federal law. Any
  payment or use of any portion of the income or principal of the trust estate for any of the purposes
  expressed herein shall not be subject to question by any person or by any court.


                                                      2


                                              EXHIBIT 16
                                                 EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 11 of 59
          Case 1: 15-cv-00904-RJA Document 4-16 Filed 10/26/15 Page 17 of 47



                                          ARTICLE SEVEN

         Upon the Grantor1s death, the Trustee shall distribute all the property then belonging to the
 income and principal of the Trust, together with all property distributed to the Trustee as a result of
 the Grantor's death, whether by Will or otherwise (all such property referred to as the Trust Fund)
 as follows:
                                          SECTION ONE

         In case the Grantor's probate estate: (excluding the income thereof) is insufficient to pay her
 funeral expenses, all claims against her estate, the expenses of administering her estate, all death
 taxes chargeable to her estate and to satisfy all pre-residuary legacies or devises given by her will,
 the Trustee shall make available to the Grantor's legal representatives, out of the trust fund, such sum
 or sums as such legal representatives shall certify to be required to make good such deficiency.
 The Trustee shall also pay out of the trust fund (i) all expenses of administration of the trust fund
 (including but not limited to the commissions of the Trustee and attorneys' fees) payable from the
 principal of the trust fund after the Grantor's death and until the division of the trust fund into
 separate trusts is completed, and (ii) all death taxes chargeable to the trust fund as a result of the
 Grantor's death.

                                             SECTION TWO

           If the Gantor's husband, GEORGE E. ABROMATS, survives the Gantor, the Trustee shall
  set apart from the· trust fund a sum equal to the largest amount, if any, that can pass free of federal
  estate tax under this Section by reason of the unified credit and state death tax credit (provided that
  use of this credit does not require an increase in the state death taxes paid) allowable to the Grantor's
  estate, but no other credit, and after taking account of property passing outside of this indenture
  (whether by the Grantor's will or otherwise) which is includable in the Grantor's gross estate and
  does not qualify for the marital or charitable deduction and after taking account of charges to
  principal that are not allowed as deductions in computing the Grantor's federal estate tax. For the
  purpose of establishing the sum disposed of by this Section the values finally fixed in the federal
  estate tax proceeding relating to the Grantor's estate shall be used. The Grantor recognizes that no
  sum may be disposed of by this Section and that the sum so disposed of may be affected by the
  action of the Trustee and the Grantor's legal representatives in exercising certain tax elections.

          The Trustee shall hold said sum IN TRUST (hereinafter called the "Credit Shelter Trust", to
  invest and reinvest the same until the death of the Grantor1s said husband, said period being
  hereinafter called the "trust term." During the trust term, the Trustee shall pay out of the net income
  or principal or both such amount or amounts (whether equal or unequal, and whether the whole or
  a lesser amount) as the Trustee may in her sole discretion determine to the Grantor's husband, for
  his health, education, maintenance:and support. In exercising this discretionary power, the Trustee
  may, but need not, consider any other resources ofthe Grantor's husband and it is the Grantor's hope
  (but not her direction) that the Trustee will give primary consideration to the needs and desires of
  her said husband. Any net income not so paid shall be added to principal.


                                                      3



                                              EXHIBIT 16
                                                 EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 12 of 59
          Case 1:15-cv-00904-RJA Document 4-16 Filed 10/26/15 Page 18 of 47



         Upon the expiration of the trust term the trustee shall distribute the remaining principal and
 interest as provided for in SECTION THREE of this Article.

                                           SECTION THREE

         The Trustee shall distribute the balance of the Trust to Grantor's husband, GEORGE E.
 ABROMATS, ifhe survives the Grantor. In the event he does not survive the Grantor the Trustee
 shall distribute the balance of the Trust to Grantor's children, PHILIP E. ABROMATS and
 GEORGE CLIFFORD ABROMA TS, to be divided equally between them, per stripes



                                          ARTICLE EIGHT

         The Grantor reserves the right at any time or from time to time during her life, (a) by an
  instrument signed by her and delivered to the Trustee, to revoke the Trust hereby created in whole
  or in part, without the consent of any .other person, or (b) by a like instrument signed and
  acknowledged by her and delivered to the Trustee, to amend this indenture, provided that the duties,
  responsibilities and rate of compensation of the Trustee shall not be altered without the Trustee's
  written consent. The Trustee shall be under no duty to inquire into the circumstances surrounding
  any revocation or amendment (including whether the revocation or amendment was procured by
  undue influence), except to be satisfied that· the Grantor is competent to execute the instrument
  delivered to the Trustee.

                                             ARTICLE NINE
           Upon the death of, resignation, inability to serve or disability of the Trustee Grantor's
  husband, GEORGE E. ABROMATS, shall serve as Successor Trustee. Upon the death of,
  resignation, inability to serve or disability of Grantor's husband, GEORGE E. ABROMA TS, then
  in that event Grantor's son, GEORGE CLIFFORD ABROMATS, shall serve as Successor Trustee.
  Upon the death of, resignation, inabili.ty to serve or disability of Grantor's son, GEORGE
  CLIFFORD ABROMATS, then in that event Grantor's son, PHILIP E. ABROMATS, shall serve
  as Successor Trustee.

          No bond shall be required of any Trustee named herein.

                                            �RTICLETEN

           The Grantor shall be considered to be under a legal disability if by reason of ilJness or mental
  or physical disability she is unable to participate in or give prompt and intelligent consideration to
  any business and/or financial matters, and the determination as to her inability at any time shall be
  made by two doctors of medicine, one of whom certifies that she is the Grantor's personal physician
  and both of whom certify that because of illness, or incapacity of any kind on the Grantor's part, it
  is their opinions that the Grantor cannot participate in or give prompt and intelligent consideration
  to any business and/or financial matters or a guardian of the person and property has been appointed

                                                     4



                                              EXHIBIT 16
                                                EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 13 of 59
        Case 1:15-cv-00904-RJA Document 4-16 Filed 10/26/15 Page 19 of 47



 for the Grantor. The Trustee herein may rely on the physicians, written notice or the court issuance
 of the appropriate guardianship papers.

                                         ARTICLE ELEVEN

         Subject to the powers retained by the Grantor, the Trustee, and any successor Trustee, shall
 have fullest power to deal with any property held in the trust estate, which may be exercised without
 the prior or subsequent approval of any court or judicial authority, at all times. No persons dealing
 with the Trustee shall be required to inquire into the propriety of any of the Trustee's actions, or to
 inquire into the application of any funds or any property it may receive. The Trustee shall, however,
 exercise all powers in a fiduciary capacity for the best interest of the beneficiaries of the trusts
 created hereunder. Without in any way limiting the generality of the foregoing, the Trustee (hereafter
 referred to as the "fiduciary," singularly or collectively as the case may be) shall have the following
 specific powers in addition to any other powers conferred by law:

         A. To hold funds uninvested in such amounts as the fiduciary may deem appropriate, and
 to invest in such assets as the fiduciary shall deem advisable even though they are not technically
 recognized as legal investments for fiduciaries, including, but not limited to, real estate, general
 partnerships, real estate, leaseholds, or groves, without responsibility for depreciation or loss by or
 on account of such fovestments.

          B. To retain the original assets received by the fiduciary for such time as the fiduciary shall
  deem best, and to dispose of such assets by sale, exchange, or otherwise, as and when the fiduciary
  shall deem advisable. Grantor waives the provisions of section 738.12, Florida Statutes.

         C. To invest in common trust funds administered by any corporate fiduciary.

          D. To perform in a fiduciary capacity any act and make any and all decisions or elections
  under state laws or under the Internal Revenue Code, including, but not limited to, joining in the
  filing of income and gift tax returns with a surviving spouse, claiming the whole or any part of the
  expenses of administration as income tax deductions, selecting taxable years, and dates of
  distribution. The fiduciary is excused from making equitable adjustments among affected
  beneficiaries.

         E. To expend such funds as the fiduciary may deem proper for the preservation and
  maintenance of assets.

          F. To employ and compensate attorneys, accountants, managers, agents, assistants, and
  advisors and to do so without liability for any act of such persons so long as such persons are
  selected and retained by the exercise of reasonable care.

         G. To execute deeds, leases, contracts, bills of sale, notes, and other written instruments
  convenient in the administration of any trust created by this Agreement.


                                                     5


                                             EXHIBIT 16
                                                EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 14 of 59
          Case 1:15-cv-00904-RJA Document 4-16 Filed 10/26/15 Page 20 of 47



          H. To establish and maintain reasonable reserves for depreciation on property subject to
  depreciation under generally accepted accounting principles as a charge against income and a credit
  to principal.

          I. To apply any sum that is payable to or for the benefit of an infant or an incompetent, or
  any person who in the judgment of the fidluciary is incapable of making proper disposition thereof,
  by payments directly to such beneficiary, by payments in discharge of the beneficiary's bills, or by
  payments to anyone with whom the beneficiary resides or who has the care or custody of the
  beneficiary, temporarily or permanently, aU without the intervention of any guardian, committee, or
  like fiduciary. The receipt of anyone to whom payment is so made shall be a complete discharge to
  the fiduciary. The fiduciary may apply any such sum without regard to other resources that the
  beneficiary may have or the duty of any other person to support the beneficiary, and the fiduciary
  shall have no obligation to see to the further application of such sum.

          J. To make any division or distribution under the terms hereofin money or in kind, or both,
  without allocating the same kind of property to all shares or distributees, without regard to the
  income tax basis of such assets and without regard to any law related to proportionality of
  distribution. Any such division or distribution made shall be binding and conclusive on all parties,
  and the fiduciary is hereby excused from any duty of impartiality with respect to any such division
  or distribution.

          K. To hold any assets in the name of a nominee with or without disclosing the fiduciary
  relationship, or to hold such property unregistered, but without thereby increasing or decreasing the
  fiduciary's liability.

        L. To borrow money for the benefit of any trust created by this Agreement and secure the
  same by collateral, mortgage, or otherwise.

         M. To compromise, arbitrate, or otherwise adjust claims in favor of or against any trust
  created by this Agreement.

         N. To participate in and consummate the liquidation, reorganization, consolidation, or other
  financial readjustment of any corporation or business in which any trust created under this
  Agreement shall be financially intereste�.

          0. To vote and exercise all rights and options, or empower another to vote and exercise such
   rights and options, concerning any corporate stock, securities, or other assets at any time owned by
   any trust created by this Agreement, and to enter into proxies and such other agreements or
   subscriptions as the fiduciary may deem advisable.

           P. To buy, sell, exchange, or lease any assets of any trust (either real or personal) created
   by this Agreement publicly or privately, for cash or on time, without order of court, and upon such
   terms and conditions as the fiduciary deems advisable. Any lease so made shall be valid and binding
   for the Trustee's full term even though it extends beyond the duration of administration of any trust

                                                    6




                                             EXHIBIT 16
                                               EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 15 of 59
          Case 1:15-cv-00904-RJA Document 4-16 Filed 10/26/15 Page 21 of 47



  created by this Agreement.

          Q. To exercise all powers herein, notwithstanding that the fiduciary may also be acting
  individually, or as a fiduciary of other estates or trusts, or as agent for another person or corporation
  interested in the same matters; provided, however, the fiduciary shall exercise such powers at all
  times in a fiduciary capacity primarily in the interest of the beneficiaries hereunder.

         R. To determine, in a fiduciary capacity, the manner in which the expenses incidental to or
  in connection with the administration ofany trust created hereunder shall be apportioned as between
  principal and income. The fiduciary is relieved of the duty of impartiality between income
  beneficiaries and remaindermen, and shall consider the welfare of the current income beneficiaries
  paramount and that of remaindermen secondary; the fiduciary shall not be answerable to any
  subsequent beneficiary for anything done or omitted in favor of a current income beneficiary

          S. To make cash advances or loans to beneficiaries with or without security.

         T. To carry insurance against such risks, for such amounts, and on such terms as the
  fiduciary may determine, with mutual insurers or otherwise.

          U. To borrow or lend money, or sell or purchase assets to or from Grantor's spouse, or
  Grantor's spouse's estate, at such rates ofinterest, at such prices, and upon such terms and conditions
  as the fiduciary deems advisable without liability or responsibility for any want of income or loss
  or diminution to the principal of any trust created hereunder.

          V. To abandon, in any way, property which the fiduciary determines not to be worth
  protecting.

         W. To receive as an addition to a trust any property, if acceptable to the fiduciary, that
  anyone may request be added to it.

           X. If the Grantor's spouse shall serve as fiduciary hereunder, and if the assets of the trust
   estate shall be comprised of any insurance policy or policies on the life of the Grantor's spouse, then
   the Grantor's spouse, individually and as fiduciary, shall have no incidents of ownership in said
   policy or policies including by way of example and not by way of limitation, the right to surrender
   said policies for their cash values, borrow the cash value, change the beneficiaries, elect settlement
   options and the like. This restriction of powers shall not be applicable, however, to any other
   fiduciary seiving hereunder at any time.

          Y. If the Grantor has made arrangements for the sale or disposition of any business interests
   that Grantor may own at the time of Grantor's death and whether operated in the form of a sole
   proprietorship, partnership, or corporation, then the fiduciary shall cariy out such agreement or
   agreements as expeditiously as possible. Otherwise, the fiduciary may continue to hold any such
   business interests for such period as the fiduciary may deem advisable, regardless of whether such
   business interest is of a class or diversification authorized by law for the investment of trust funds,

                                                      7



                                              EXHIBIT 16
                                                EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 16 of 59
          Case 1:15-cv-00904-RJA Document 4-16 Filed 10/26/15 Page 22 of 47



  and to operate as a sole proprietorship or as a partnership or corporation such business interests and
  any other business interest that may be acquired by any trust created hereunder and to do any and all
  things necessary or appropriate for the management and operation of such business interests,
  including, but not limited to, in addition to the other powers and authority conferred by law or
  contained in this Article, the following powers:

                  1. To control, direct, and manage the business directly or to delegate all or any part
  of the Trustee's power to supervise and operate, to such person or persons as the fiduciary may
  select, including any associate, partner, officer, or employee of the business.

                  2. To hire and discharge officers and employees, fix their compensation, and define
  their duties; and similarly to employ, compensate, and discharge agents, attorneys, consultants,
  accountants, and such other representatives as the fiduciary may deem appropriate, including the
  authority and power to employ any beneficiary in any of the foregoing capacities.

                  3. To make or obtain loans or advances on such conditions, at such rates of interest,
  and for such business purposes as may be deemed advisable; provided, however, non-business assets
  of any trust created hereunder shall not be invested in or loaned to or otherwise committed to any
  such business.

                  4. To take any action required to convert any cotparation into a partn�hip or sole
  proprietorship or to organize a corporation under the laws of this or any other state and to transfer
  thereto all or any part of the business or interests and to receive in exchange therefor such stocks,
  bonds, and other securities as may be deemed advisable.

                 5. To treat the business as an entity separate from any trust created hereunder and
  in accountings to the beneficiaries, the fiduciary shall only be required to report the earnings and
  condition of the business in accordance with stan�ard accounting practices.

                  6. To retain in the business operated as a sole proprietorship or partnership such
   amount of the net earnings for working capital and other purposes of the business as the fiduciary
   may deem advisable in conformity with sound business practice; provided, however, this paragraph
   6 shall not apply to any trust intended to qualify for the federal estate tax marital deduction.

                  7. To sell or liquidate all or part of any business at such time and price and upon
   such terms and conditions (including credit) as the fiduciary may determine, including the authority
   and power to make such sale to any partner, officer, or employee of the business or to any beneficiary
   hereunder and to employ brokers or agents for such purposes.

                 8. To acquire additional interests in such business and to diminish, enlarge, or
   change the scope or nature of the activities of any business.

                 9. The Grantor is aware that certain risks are inherent in the operation of any
   business and in determining any question of liability for losses, it should be considered that the

                                                     8



                                             EXHIBIT 16
                                               EXHIBIT A
                                 ---------�----- -         --   ---------------------
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 17 of 59
          Case 1:15-cv-00904-RJA Document 4-16 Filed 10/26/15 Page 23 of 47



  fiduciary is engaging in a speculative enterprise at the Grantor express request.

          Z. To continue to hold any real property or interest therein which are transferred by the
  Grantor or from the Grantor estate to any trust created hereunder> in the same manner as the absolute
  owner thereof, and whether held in fee, as lessee, lessor, or jointly as a joint tenant or a partner for
  such period as the fiduciary may deem advisable and regardless of whether such real property is of
  a class or diversification authorized by law for the investment of trust funds and to operate as a sole
  proprietorship or as a partnership or corporation such real property and any other real property which
  may be acquired by a trust created hereunder and to do any and all things necessary for the
  appropriate management and operation of real property including, but not limited to, in addition to
  the other powers of authority conferred by law or contained in this Article, the following powers:

                  1. To manage or develop any real property in such manner as the fiduciary may
  determine; to sell, transfer, or exchange any such real property upon such terms and conditions as
  may be deemed advisable; to make, renew, or modify leases on such property for such rentals and
  on such terms as the fiduciary may determine, irrespective ofwhether the term ofany such lease may
  extend beyond the administration of any trust created hereunder to erect buildings or improvements
  thereon, to abandon such property, to adjust boundaries, to partition and pay sums necessary to
  equalize such partition, to erect or demolish buildings thereon, to convert for a different use, to
  dedicate for public use without compensation, to grant easements, to waive payment for property
  taken by right of eminent domain, to insure for any or all risks, to grant options, to enter party wall
   contracts, to protect out of the general funds of any trust created hereunder, to insure or perfect title,
   and to charge the costs of any action taken with regard to any such real property to the principal or
   income as the fiduciary may determine.

                    2. To make all ordinary repairs on any real property and such extraordinary repairs,
   alterations, or improvements a the fiduciary may deem advisable, and to charge all ordinary repairs
   against the income and all extraordinary repairs alterations, or improvements against the principal
   of which the property being repaired, altered, or improved forms a part.

                  3. To mortgage such property in such amount or otherwise obtain loans or advances,
   on such conditions, and such rates of interest as may be deemed advisable or to modify, renew
   subordinate, or extend any such mortgage; provided, however> other assets of any trust created
   hereunder shall not be invested in or loaned to or otherwise committed to any such business.

                 4. With respect to any real property which is damaged or destroyed, whether by fire,
   storm, or otheiwise, to repair or rebuild such property in such manner as the fiduciary may
   determine, using the proceeds of any insurance which may become available as a result of such
   damage or destruction, or, to the extent that such insurance is not sufficient, principal or income as
   may be advisable.

                  5. To set up such reserves out of income, as the fiduciary may determine, for taxes,
   assessments, repairs, depreciation and general upkeep on real property; provided, however, this
   paragraph 5 shall not apply to any trust intended to qualify for the federal estate tax marital

                                                       9




                                               EXHIBIT 16
                                                 EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 18 of 59
        Case 1:15-cv-00904-RJA Document 4-16 Filed 10/26/15 Page 24 of 47


  deduction.

                6. To hire agents to operate and manage any real property, or any interest therein,
  and to employ brokers or agents to sell or otherwise dispose of any real property or any part thereof.

                  7. To talce any action required to convert any corporation into a partnership or sole
  proprietorship or to organize a corporation under the laws of this or any other state and to transfer
  thereto all or any part of the real property, and to receive in exchange therefor such stocks, bonds,
  and other securities as may be deemed advisable.

                 8. To treat the real property development as an entity separate from any trust created
  hereunder and in accountings to the beneficiaries,. the fiduciary shall only be required to report the
  earnings and condition of the real property in accordance with standard accounting practices.

                  9. The Grantor is aware that certain risks are inherent in the operation of any real
  property and in detennining any question of liability for losses, it should be considered that the
  fiduciary is engaging in a speculative enterprise at the Grantor"s express request.

          AA. The trustee is authorized in the Trustee's sole discretion after the grantor's incapacity,
  or after, in the trustee's judgment, reasonable doubt exists regarding the capacity of the grantor, to
  make gifts of the trust principal to continue any gift program which the grantor had previously
  commenced to make use of the available federal gift tax annual exclusion, including consent gifts
  by the grantor's spouse. Such gifts may be made outright or in trust.

                                         ARTICLE TWELVE

          As compensation for services hereunder the Trustee may, at her option, receive reasonable
  fees for her services; in the case of a corporate trustee, it may charge fees according to the schedule
  of fees it then has in existence for Trusts of comparable size. Such commissions may be charged
  currently or deferred in the discretion of the Trustee.

          The Trustee shall have the right to make a reasonable charge each year for her services in
  preparing income and other tax returns for the Trust Estate. Such charge may be made to the
  principal of the Trust Estate or to the income thereof or partly to one and partly to the other in the
  discretion of the Trustee.

                                        ARTICLE TIDRTEEN

          This Indenture shall be construed and regulated by and in accordance with, and the Trusts
   hereby created shall be governed by, the laws of the State of Florida.

                                        ARTICLE FOURTEEN

          No income or principal beneficiary of any Trust shall have the right or power to anticipate,

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                                            EXHIBIT 16
                                               EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 19 of 59
         Case 1:15-cv-00904-RJA Document 4-16 Filed 10/26/15 Page 25 of 47



  pledge, assign, sell, transfer, alienate or encumber his or her interest in the Trust, in anyway. No
  interest in any Trust shall, in any manner, be. liable for or subject to the debts, liabilities or
  obligations of such beneficiaries or claims of any sort against such beneficiary.

                                          ARTICLE FIFTEEN

          In order to facilitate the convenient administration ofthis Trust, including the registration and
  transfer of the assets to and from this Trust, any Trustee shall have the power to execute a
  CERTIFICATE OF TRUST describing any trust matter including, but not limited to, a description
  of the trust terms, and the identity of any current Trustee. Any person who receives the original or
  photocopy of the Certificate of Trust shall be held harmless for relying on same, and shall not be
  obligated to inquire into the terms of this Trust or maintain a copy of this Trust.

                                          ARTICLE SIXTEEN

          If at any time the Trust or any one of the Trusts created hereunder shall be in the aggregate
  principal value of$50,000.00 or less, the Trustee may terminate such trust and distribute the assets
  thereof in the Trustee's possession to the beneficiaries; the share of each being the same proportion
  as he or she is a beneficiary under the terms of this Trust.

                                        ARTICLE SEVENTEEN

         As used in this Trust, masculine, feminine and neuter pro-nouns shall each include all
  genders, the singular shall include the plural and the plural shall include the singular.

                                         ARTICLE EIGHTEEN

          Acceptance of Trust. The Trustee hereby accepts the trust herein created.




                                                      11


                                              EXHIBIT 16
                                                EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 20 of 59
         Case 1:15-cv-00904-RJA Document 4-16 Filed 10/26/15 Page 26 of 47




         IN WITNESS WHEREOF, the parties hereto have executed this instrument in duplicate the
  day and year first above written.

  SIGNED, SEALED AND DELIVERED
  IN THE PRESENCE OF:




/·��
 u��
                                                             0'
                                                           " J.AB
                                                             ���
                                                        GLORIA    OMATS, Grantor


  WITNESS: Vicki Pereira


                                                        6-�»,�
                                                        GLORIA J. ABROMATS, Trustee


  WI1NESS: Vicki Pereira


         This document, consisting of a total of thirteen (13) typewritten pages, was signed by
  GLORIA J. ABROMATS, as Grantor and as Trustee, declared by GLORIA J. ABROMATS, in our
  presence, to be the GLORIA J. ABROMATS REVOCABLE TRUST AGREEMENT; as we, at her
  request and in her presence and in the presence of each other, have hereunto subscribed our names
  as witnesses this 15th day of September, 2005;




 �J�
                                              of        4530 North Federal Highway
(�kins                                                  Fort Lauderdale, FL 33308


   ()�?�
  Vicki Pereira
                                              of        4530 North Federal Highway
                                                        Fort Lauderdale, FL 33308




                                                   12



                                           EXHIBIT 16
                                             EXHIBIT A
                                            -�------           --
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 21 of 59



                                       (J COPY
                            SECOND AMENDMENT TO THE
                 GLORIA J. ABROMATS REVOCABLE TRUST AGREEMENT


         THIS SECOND AMENDMENT made this January l 9. 2011 � between GLORIA J.
  ABROMA TS. hereinafter called the Grantor11 and GLORIA J. ABROM A TS, hereinafter caIJed the
                                       11              •

   Trustee.
  11
           11




          WHEREAS, GLORIA J. ABROMA TS did on the 15' 11 day of September, 2005� create that
  certain Trust Agreement wherein GLORIA J. ABROMATS was Granter and Trustee; and

          WHEREAS. GLORIA J. ABROMA TS did on the I 8 1h day ofNovembeL 2009. create that
  certain First Amendent to that said Trust Agreement wherein GLOR1A J. ABROMATS \\'as Grantor
  and Trustee; and

          WHEREAS, the Grantor reserved unto herself under Paragraph A of Article FIVE of the
  original Trust Agreement dated September 15, 2005, the right to amend, alter, revoke or terminate.
  in whole or in part, any provision of said instrument� and

         THEREFORE. pursuant to the power 9f amendment reserved to the Grantor by Article FIVE
 ofthe Trust Agreement dated September 15. 2005, between GLORIA J. ABROMATS as Grantor
 and Trustee. I, GLORIA .T. ABROMATS. as Grantor. amend the Restatement of Trust Agreement
 as fo11ows:

         1.      I revoke Section TWO and Section THREE of Article SEVEN in there entirety, and
 replace same ,1vith the following:


                                            SECTION TWO


        The Trustee shall distribute the balance of the Trust as follows:

        A. The Trustee shall distribute the sum of One Hundred Fitly Thousand Dollars
 ($150�000.00) to Grantors niece, AUDREY JOYCE. if she survive� the Granter.

      B. The Trustee shall distribute the balance of the trust to Grantor's son. GEORGE
 CLIFFORD ABROMATS.

         In the event GEORGE CLIFFORD ABROMA TS should predecease the Grantor. then in
 that event his share of the TRUST shall be distributed to the GEORGE CLIFFORD
 ABROMATS REVOCABLE TRUST AGREEMENT dated November 12, 2009.

        Grantor hereby ackno\.\·]edge that she has made no provision herein for her son� PHlLJP
                                                           1

                                                                                        EXHIBITB


                                                   EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 22 of 59




    E. ABROMATS, as she feels that she has othen\:ise provided for him during her lifetime.


           2.     I revoke all Article NINE in its entirety. and replace same \\, jfh the following:

                                            ARTICLE NINE


                   Upon the death of. resignation, inability to serve or disability of the Trustee
   Grantor's son, GEORGE CLIFFORD ABROMATS, shall serve as Successor Trustee. Upon the
   death of. resignation, inabiJity to serve or disability of Grantor's son. GEORGE CUFFORD
   ABROMATS, then in that event Grantor·s attorney. JACK A. BAXTER_ JR .. shall serve as
   Successor Trustee. Upon the death of. resignation. inability to serve or disability of Grantor·s
   attorney, JACK A. BAXTER. JR.� then in that event Grantor's daughter-in-Jaw� JANICE J.
   WOROBEC. shal] serve as Successor Trustee.

          No bond shal1 be required of any Trustee named herein.


          3.    In all other respects I confim1 the terms and provisions of the Trust Agreement
   dated September 15� 2005, as amended.


          IN WITNESS WHEREOF, the parties hereto have executed this instrument the day and
  year first above written.



                                                        GLORIA J. ABROMATS, Grantor



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                                                                           _.
                                                        GLORIA J. ABROMATS, Trustee




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                                               EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 23 of 59




        This document. consisting of a total of four (4) typewritten pages. \Vas signed hy GLORIA

  J. ABROMA TS. as Grantor and as Trustee. and declared by GLORIA J. ABROMA TS, in our

  presence. to be the SECOND AMENDMENT TO THE GLORIA J. ABROMATS

  REVOCABLE TRUST AGREEMENT, and we, at her request and in her presence and in the

  presence of each other, have hereunto subscribed our names as witnesses this January 19, 20] l.


                        / .
   v&,
    �iuy&J�                                   of             4530 North Federa1 Highway
  'SHERRY      PKINS                                         Fort Lauderdale� FL 33308




   U   UYU      - Pc0L2 ksc. 0-               of             4530 North Federal Highway
  v1cK1 PEREIRA                                              Fort Lauderdale, FL 33308




                                                3




                                              EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 24 of 59




   STATE OF FLORIDA  )
                    :ss:
  COUNTY OF BROWARD )

         J. GLORIA .T. ABROMATS, declare to the officer taking my acknowledgment of this
  instrument. and to the subscribing witnesses. that I signed this instrument as the SECOND
  AMENDMENT TO THE GLORIA J. ABROMA TS REVOCABLE TRUST AGREEMENT
  dated September 15� 2005.


                                                      GLORJA J. ABROMA TS. Granter/Trustee



          We, SHERRY HOPKINS and VICKI PEREIRA. have been sworn by the officer signing
  below� and declare to that officer on our oaths that GLORIA J. ABROMATS declared the
  foregoing instrument to be the SECOND AMENDMENT TO THE GLORIA J. ABROMA TS
  REVOCABLE TRUST AGREEMENT dated September 15, 2005, and signed it in our presence
  and that we each signed the instrument as a witness in the presence of GLORIA J. ABROMA TS
  and of each other.




                                                        Lhdzt
                                                     VICKI PEREIRA. Witness
                                                                                       · EarzQQ}e,u_
        Acknowledged and subscribed before me by the Grantor/Trustee, GLORIA J.
 ABROMA TS, who is personally known to me� and sworn to and subscribed before me by the
 witnesses. SHERRY HOPKINS and VJCKJ PEREIRA, who are personally known to me, and
 subscribed by me in the presence of the Gran tor/Trustee and the subscr1bing witnesses. all on
 January 19, 201 l.                                         /.,.,,/;7
                                                        ///
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                                                                                                      1/
                                                                                                 .:;..'   ------=---
                                                            Y/tX. ,, �
                                                         ' /_ .,,,.;ff.,'.             'f- ,,
                                                                              7.,.,-:,_,/I.__/ /�/




 My Comm1ssion Expires:




                                              EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 25 of 59
          Case 1:15-cv-00904-RJA Document 4-3 Filed 10/26/15 Page 2 of 7




     FIRST SEPTEMBER 30 1 2011 MODIFICATION OF TRUST AGREEMENT
           I, GLORIA J. ABROMATS f as Settlor t executed in or around 2005 a certain Trust
   Agreement called the Glorra J. Abromats Revocable Trust Agreement, which was
   thereafter amended and restated, whereby l specifically reserved the right at any time or
   times to amend, modify or revoke the Trust Agreement in whole or in part by instrument in
   writing dellveed to the Trustee.

            I hereby MODI FY the said Trust Agreement including any and all prior modificat,ons
    and/or amendments with the foHowing directive, to wit. that I hereby DIRECT the trustee
    thereof, whoever may serve tn that capacity now or in the future, not to demand, collect,
    attempt to collect sue upon, or assign l any note made payable to the trust by my sons
    Clifford Abromats or Philip Abromats, or either of them; or their wives, or either of them: or
    either of my sons and his wife jointly and severally untH one year after my death
                                                       l




          IN WITNESS WHEREOF, I, GLORIA J. ABROMATS, have signed this modification
    on September 30, 2011.



                                               GLORIA J. ABROMATS

           I certi   that the above document was signed on September 30, 2011, and
    declared by       ORIA J. ABROMATS as her Modification of Trust Agreement in my
    presend'e.




                                             Page 1 of 4



                                                                                        EXHIBITC
                                            EXHIBIT 3
                                             EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 26 of 59
           Case 1:15-cv-00904-RJA Document 4..:3 Filed 10/26/15 Page 3 of 7




    STATE OF FLORIDA
    COUNTY OF BROWARD

            On this :Jeth day of September 2011, before me, the subscriber, appeared
    GLORIA J. ABROMATS, personally known to me or has produced fi. 1 h"                   as
    identification, and known to me to be the person described in and who executed the within
    instrument, and she duly acknowledged to me that she executed the same.




                                             My commission expires:




          The foregoing instrument, consisting of two (2) pages, including this page, was
    subscribed published and declared by GLORIA J. ABROMATS to be her FIRST
    MODIFICATION OF TRUST AGREEMENT, in the presence of us, who in her presence, at
    her          d in the presence of each other, have subscribed our names as witnesses.
        �



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                                           Page 2 of 4




                                          EXHIBIT 3

                                           EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 27 of 59
          Case 1:15-cv-00904-RJA Document 4-3 Filed 10/26/15 Page 4 of 7




                                   EXHIBIT 3

                                    EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 28 of 59
          Case 1:15-cv-00904-RJA Document 4-3 Filed 10/26/15 Page 5 of 7




                          SECOND SEPTEMBER 30, 2011
                       MODIFICATION OF TRUST AGREEMENT
           L GLORIA J. ABROMATS, as Settler, executed in or around 2005 a certain Trust
   Agreement called the Gloria J. Abromats Revocable Trust Agreement which was
   thereafter amended and restated, whereby I specifically reserved the right at any time or
   times to amend, modify or revoke the Trust Agreement in whole or in part by instrument rn
   wriJng defivered lo the Trustee. I also acknowledge that earlier today 1 I executed another
   modification under which I directed my trustee not to collect, attempt to collect or assign
   any note made out in favor of said trust by either of my sons or their wives untU one year
   after my death, which amendment I intend to remain in full force and effect.

           I hereby REVOKE the Trust Amendment dated on or about January 19. 2011, in its
   entlrety, and any prior or subsequent amendments and restatements thereto, to the extent
   any such amendment purported or purports to remove my son Philip Edward Abromats as
   an equat beneficiary with his brother. G. Cllfford Abromats 1 of said trust after my demise, It
   is and has been my intent for many years that my two sons, Clifford and Philip, should
   share equally In the proceeds of my trust upon my death, subject only to adjustments
   representing the sums each of my sons borrowed against his future inheritance during my
   lifetime so that no son would unfairly benefit by borrowing more than the other but that
   each wourd stilf receive an equal share of the trust proceeds. This provision shall be
   severable from the first September 30 1 2011 trust amendment (above), if said First
    September 30, 2011 amendment shall in any way be declared invalid. and this provision
   will survive.

            t hereby also DECLARE this trust, including but not Umited to the distribution of the
    trust and the 1dentit1es of the beneiciaries, to be IRREVOCABLE from this point forward.

          IN WITNESS WHEREOF, t GLORIA J.ABROMATS f have signed this modification
    on September 30. 2011.




                                             Page 3 of 4




                                            EXHIBIT 3
                                             EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 29 of 59
           Case 1:15-cv-00904-RJA Document 4-3 Filed 10/26/15 Page 6 of 7




         I certify that the above document was signed on Sept. 30, 2011, and declared by
                   BROMATS as her Second Modification of Trust Agreement in my
    � ��:� :\�
     r




    Witness



    STATE OF FLORIDA
    COUNTY OF BROWARD

            On this ') o1h   day of September 2011, before me, the subscriber, appeared
    GLORIA J. ABROMATS, personally known to me or has produced FJ- I. p,                  as
    identification, and known to me to be the person described in and who executed the within
    instrum n a d           I a k o le ged to me that she executed the same.




           The foregoing instrument, consisting of two (2) pages, including this page, was
    subscribed published and declared by GLORIA J. ABROMATS to be her SECOND
    MODIFICATION OF TRUST AGREEMENT, in the presence of us, who in her presence, at
    her quest, and in the presence of each other, have subscribed our names as witnesses.



                                             Address     ��J {:Jf 1,1:J- �r
                                                         t:11AM� PL 33le> 1




                                           Page 4 of 4




                                          EXHIBIT 3

                                           EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 30 of 59
         Case 1:15-cv-00904-RJA Document 4-3 Filed 10/26/15 Page 7 of 7




                                   EXHIBIT 3
                                   EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 31 of 59




                  GLORIA J. ABROMATS TRUST UA DTD 9/15/2005




                        TRUST ACCOUNTING AS OF
                             APRIL 30, 2015
                                  AND
                    ACCOUNTANTS' COMPILATION REPORT




                                                                  EXHIBITD



                                   EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 32 of 59


                     Ahearn
                     Jasco +                                                                        190 Southeast 19th Avenue
                                                                                                 Pompano Beach, Florida 33060
                     Company                                                                              www.ahearncpa.com

                                                                                                         Toll Free 877-781-8803
    Business and Financial Consultants
                                                                                                           Phone 954-781-8800
       Certified Public Accountants
                 Chartered                                                                                     Fax 954-785 8673


                                 ACCOUNTANTS' COMPILATION REPORT



      Gloria J. Abromats Trust
      Buffalo, NY


      We have compiled the accompanying trust accounting of the Gloria J. Abromats Trust as of April
      30, 2015, including the activity of the trust for the period October 31, 2011 through April 30,
      2015. We have not audited or reviewed the accompanying estate accounting and, accordingly, do
      not express an opinion or provide any assurance about whether the estate accounting is in
      accordance with the form prescribed by the Uniform Principal and Income Act.

      The trustee of the Gloria J. Abromats Trust is responsible for the preparation and fair presentation
      of the trust accounting in accordance with the Uniform Principal and Income Act and for
      designing, implementing, and maintaining internal control relevant to the preparation and fair
      presentation of the trust accounting.

      Our responsibility is to conduct the compilation in accordance with Statements on Standards for
      Accounting and Review Services issued by the American Institute of Certified Public
      Accountants. The objective of a compilation is to assist the trustee of the George E Abromats
      Trust in presenting financial information in the form of a trust accounting without undertaking to
      obtain or provide any assurance that there are no material modifications that should be made to
      the trust accounting.

      This trust accounting was prepared for the purpose of complying with the requirements of the
      Uniform Principal and Income Act and is not intended to be a presentation in conformity with
      accounting principles generally accepted in the United States of America.

      This report is intended solely for the information and use of the trustee and beneficiaries and is
      not intended to be and should not be used by anyone other than these specified parties.




                                                                 AHEARN, JAS      + COMPANY, P
                                                                 Certified Puhr Accountants


      Pompano Beach, Florida
      November 2, 2015




             American Institute of Certified Public Accountants • PCAOB Registered • Private Companies Practice Section



                                                         EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 33 of 59




                         GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                     TRUST ACCOUNTING
                           FOR THE PERIOD FROM OCTOBER 31, 2011
                                   THROUGH APRIL 30, 2015


                                               SUMMARY

    I. Balance at October 31, 2011 (at cost)                                          $   650,768.82

   II. Receipts
       Schedule A        Income                                $       312,424.95
                         Principal                                     257,492.06

                                            Subtotal                                  $   569,917.01

  Ill. Disbursements
       Schedule B        Income                                $       (518,842.00)
                         Principal                                     (811,491.21)

                                            Subtotal                                  $ (1,330,333.21)

  IV. Distributions
      Schedule C         Income                                $
                         Principal

                                            Subtotal                                  $

   V. Ca12ital Transactions and Adjustments
      Schedule D          Net Gain                             $       585,579.29
                          Net Loss                                     (12,151.78)

                                            Subtotal                                  $   573,427.51


   VI. Assets on Hand at Close of Accounting Period (at cost basis):
       Schedule E                                                                     $   463,780.13




                             See Independent Accountants' Compilation Report



                                                EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 34 of 59




                         GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                     TRUST ACCOUNTING
                          FOR THE PERIOD FROM OCTOBER 31, 2011
                                   THROUGH APRIL 30, 2015

                                  Schedule A - Receipts During Period
                      (Does not include receipts from sale of other dispositions of
                    principal assets. Such transactions are shown on Schedule D.)

 Date                 Brief Description of Items                             Income       Principal

 WELLS FARGO BROKERAGE ACCOUNT #8943
 Nov.2011  Interest Income                                                         1.85
 Dec.2011  Interest income                                                         1.81
 Dec.2011  Dividend Income - EQT Corp                                          1,650.00
 Dec. 2011 Dividend Income - Fidelity Sec Fd (reinvested )                       228.87
 Jan. 2012 Interest Income                                                         1.17
 Jan.2012  IRA Minimum Distribution 2012                                       6,126.95
 Feb. 2012 Interest Income                                                         0.81
 Feb.2012  Dividend Income - Yum Brands Inc                                      570.00
 Mar. 2012 Interest Income                                                         0.87
 Mar. 2012 Dividend Income - EQT Corp                                          1,650.00
 Apr. 2012 Interest Income                                                         0.63
 May 2012  Interest Income                                                         0.50
 May 2012  Dividend Income - Yum Brands Inc                                      570.00
 June 2012 Interest Income                                                         0.31
 June 2012 Dividend Income - EQT Corp                                          1,650.00
 July 2012 Interest Income                                                         0.26
 Aug. 2012 Interest Income                                                         1.24
 Aug.2012  Dividend Income - Yum Brands Inc                                      570.00
 Sept.2012 Interest Income                                                         3.27
 Sept.2012 Dividend Income - EQT Corp                                          1,650.00
 Oct. 2012 Interest Income                                                         2.98
 Nov. 2012 Interest Income                                                         2.62
 Nov.2012  Dividend Income - Yum Brands Inc                                      670.00
 Dec.2012  Interest Income                                                         2.66
 Dec.2012  Dividend Income - Home Depot Inc                                      290.00
 Jan. 2013 Interest Income                                                         2.98
 Feb. 2013 Interest Income                                                         3.02
 Feb.2013  Dividend Income - Yum Brands Inc                                      670.00
 Feb. 2013 Dividend Income - Lowes Companies Inc.                                160.00
 Mar. 2013 Interest Income                                                         3.34
 Mar. 2013 Dividend Income - Home Depot Inc                                      390.00
 Apr. 2013 Interest Income                                                         2.13




                           See Independent Accountants' Compilation Report




                                              EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 35 of 59




                     GLORIA J. ABROMATS TRUST UA DTD 9/ 15/2005
                                 TRUST ACCOUNTING
                      FOR THE PERIOD FROM OCTOBER 31, 2011
                               THROUGH APRIL 30, 2015

                              Schedule A - Receipts During Period
                  (Does not include receipts from sale of other dispositions of
                principal assets. Such transactions are shown on Schedule D.)

 Date             Brief Description of Items                             Income       Principal

 WELLS FARGO BROKERAGE ACCOUNT #8943 {continued}
 May2013   Interest Income                                                     1.94
 May2013   Dividend Income - Lowes Companies Inc.                            160.00
 June2013  Interest Income                                                     2.48
 June2013  Dividend Income - Boeing Inc.                                     485.00
 June2013  Dividend Income - Home Depot Inc                                  390.00
 July 2013 Interest Income                                                     2.45
 Aug.2013  Interest Income                                                     2.00
 Aug.2013  Dividend Income - Lowes Companies Inc.                            180.00
 Sept.2013 Interest Income                                                     1.31
 Sept.2013 Dividend Income - Boeing Inc.                                     485.00
 Sept.2013 Dividend Income - Home Depot Inc                                  390.00
 Oct.2013  Interest Income                                                     1.43
 Nov.2013  Interest Income                                                     1.35
 Nov.2013  Dividend Income - Lowes Companies Inc.                            180.00
 Nov.2013  Dividend Income - Apple Inc.                                      610.00
 Dec.2013  Interest Income                                                     0.79
 Dec.2013  Dividend Income - Boeing Inc.                                     363.75
 Dec.2013  Dividend Income - Home Depot Inc                                  390.00
 Dec.2013  IRA Minimum Distribution2013                                    5,575.50
 Jan.2014  Interest Income                                                     0.37
 Feb.2014  Interest Income                                                     0.42
 Feb.2014  Dividend Income - Lowes Companies Inc.                            180.00
 Feb.2014  Dividend Income - Apple Inc.                                      610.00
 Mar.2014  Interest Income                                                     0.66
 Mar.2014  Dividend Income - Boeing Inc.                                     547.50
 Mar.2014  Dividend Income - Home Depot Inc                                  470.00
 Apr.2014  Interest Income                                                     0.44
 May2014   Interest Income                                                     0.35
 May2014   Dividend Income - Lowes Companies Inc.                            180.00
 May 2014  Dividend Income - Apple Inc.                                      658.00
 June2014  Interest Income                                                     0.13
 June2014  Dividend Income - Boeing Inc.                                     547.50




                       See Independent Accountants' Compilation Report




                                          EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 36 of 59




                         GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                     TRUST ACCOUNTING
                          FOR THE PERIOD FROM OCTOBER 31, 2011
                                   THROUGH APRIL 30, 2015

                                  Schedule A - Receipts During Period
                      (Does not include receipts from sale of other dispositions of
                    principal assets. Such transactions are shown on Schedule D.)

 Date                 Brief Description of Items                             Income       Principal

 WELLS FARGO BROKERAGE ACCOUNT #8943 (continued)
 June 2014  Dividend Income - Home Depot Inc                                     470.00
 July 2014  Interest Income                                                        0.12
 Aug. 2014  Interest Income                                                        0.13
 Aug. 2014  Dividend Income - Lowes Companies Inc.                               230.00
 Aug. 2014  Dividend Income - Apple Inc.                                         658.00
 Sept. 2014 Interest Income                                                        0.72
 Sept. 2014 Dividend Income - Boeing Inc.                                        547.50
 Sept. 2014 Dividend Income - Home Depot Inc                                     470.00
 Oct. 2014  Interest Income                                                        0.74
 Oct. 2014  IRA Minimum Distribution 2014                                      5,984.56
 Nov. 2014  Interest Income                                                        0.16
 Nov. 2014  Dividend Income - Lowes Companies Inc.                               230.00
 Nov. 2014  Dividend Income - Apple Inc.                                         658.00
 Dec. 2014  Interest Income                                                        0.02
 Dec. 2014  Dividend Income - Home Depot Inc                                     470.00
 Jan. 2015  Interest Income                                                        0.12
 Feb. 2015  Interest Income                                                        0.04
 Feb. 2015  Dividend Income - Lowes Companies Inc.                               172.50
 Feb. 2015  Dividend Income - Apple Inc.                                         658.00
 Mar. 2015  Interest Income                                                        0.05
 Mar. 2015  Dividend Income - Home Depot Inc                                     442.50
 Apr. 2014  Interest Income                                                        0.05


  SUNTRUST CHECKING ACCOUNT #                      1405
  11/01/2011 Dividend Income - Verizon                                            60.00
  11/03/2011 Dividend Income - Raytheon                                           72.24
  11/03/2011 Social Security Benefits                                          1,773.00
  11/07/2011 Rental Income                                                     1,725.00
  11/30/2011 Interest Income                                                       0.33
  12/02/2011 Social Security Benefits                                          1,773.00
  12/30/2011 Dividend Income - Frontier                                            5.25
  12/30/2011 Dividend Income - Travellers                                         29.52



                           See Independent Accountants' Compilation Report



                                              EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 37 of 59




                        GLORIA J. ABROMATS TRUST UA OTO 9/15/2005
                                    TRUST ACCOUNTING
                          FOR THE PERIOD FROM OCTOBER 31, 2011
                                  THROUGH APRIL 30, 2015

                                 Schedule A - Receipts During Period
                     (Does not include receipts from sale of other dispositions of
                   principal assets. Such transactions are shown on Schedule D.)

 Date                 Brief Description of Items                            Income       Principal


 SUNTRUST CHECKING ACCOUNT #                  1405 {continued}
 12/30/2011 Interest Income                                                       0.20
 01/03/2012 Social Security Benefits                                          1,851.00
 01/08/2012 Rental Income                                                     1,800.00
 01/25/2012 Deposit                                                           7,604.56
 01/31/2012 Interest Income                                                       0.41
 02/01/2012 Dividend Income - Verizon                                            60.00
 02/02/2012 Rental Income                                                     1,800.00
 02/03/2012 Social Security Benefits                                          1,851.00
 02/09/2012 Dividend Income - Raytheon                                           72.24
 02/17/2012 Deposit                                                           6,244.65
 02/29/2012 Interest Income                                                       0.27
 03/02/2012 Social Security Benefits                                          1,851.00
 03/08/2012 Rental Income                                                     1,800.00
 03/30/2012 Dividend Income - Frontier                                            2.80
 03/30/2012 Dividend Income - Travellers                                         29.52
 03/30/2012 Interest Income                                                       0.25
 04/03/2012 Social Security Benefits                                          1,851.00
 04/06/2012 Rental Income reduced by repairs deducted                         1,427.39
 04/30/2012 Interest Income                                                       0.17
 05/01/2012 Dividend Income - Verizon                                            60.00
 05/03/2012 Social Security Benefits                                          1,851.00
 05/07/2012 Rental Income reduced by repairs deducted                         1,424.13
 05/31/2012 Interest Income                                                       0.10
  06/01/2012 Social Security Benefits                                         1,851.00
 06/04/2012 Rental Income                                                     1,800.00
  06/13/2012 Deposit                                                          3,818.61
  06/29/2012 Dividend Income - Travellers                                        33.12
  06/30/2012 Interest Income                                                      0.23
  07/03/2012 Social Security Benefits                                         1,851.00
  07/06/2012 Rental Income                                                    1,800.00
  07/30/2012 Interest Income                                                      0.18
  08/03/2012 Social Security Benefits                                         1,851.00


                          See Independent Accountants' Compilation Report



                                              EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 38 of 59




                        GLORIA J. ABROMATS TRUST UA OTO 9/15/2005
                                    TRUST ACCOUNTING
                          FOR THE PERIOD FROM OCTOBER 31, 2011
                                  THROUGH APRIL 30, 2015

                                 Schedule A - Receipts During Period
                     (Does not include receipts from sale of other dispositions of
                   principal assets. Such transactions are shown on Schedule D.)

 Date                 Brief Description of Items                            Income       Principal

 SUNTRUST CHECKING ACCOUNT                    1405 {continued}
 08/06/2012 Rental Income                                                     1,800.00
 08/31/2012 Interest Income                                                       0.20
 08/31/2012 Social Security Benefits                                          1,851.00
 09/10/2012 Rental Income                                                     1,800.00
 09/28/2012 Dividend Income - Travellers                                         33.12
 09/30/2012 Interest Income                                                       0.15
 10/03/2012 Social Security Benefits                                          1,851.00
 10/09/2012 Rental Income reduced by repairs deducted                         1,390.00
 10/31/2012 Interest Income                                                       0.10
 11/02/2012 Social Security Benefits                                          1,851.00
 11/08/2012 Rental Income reduced by repairs deducted                         1,350.00
 11/30/2012 Interest Income                                                       0.12
 12/03/2012 Social Security Benefits                                          1,851.00
 12/07/2012 Rental Income                                                     1,800.00
 12/31/2012 Dividend Income - Travellers                                         33.12
 12/31/2012 Interest Income                                                       0.07
 01/03/2013 Social Security Benefits                                          1,880.00
 01/04/2013 Rental Income                                                     1,800.00
 01/31/2013 Interest Income                                                       0.09
 02/01/2013 Social Security Benefits                                          1,880.00
 02/01/2013 Transfer from George Abromats Trust                              21,791.01    29,208.99
 02/08/2013 Rental Income                                                     1,800.00
 02/28/2013 Interest Income                                                       0.67
 03/01/2013 Social Security Benefits                                          1,880.00
 03/08/2013 Rental Income                                                     1,800.00
 03/29/2013 Dividend Income - Travellers                                         33.12
 03/29/2013 Interest Income                                                       0.26
 04/03/2013 Social Security Benefits                                          1,880.00
 04/10/2013 Rental Income                                                     1,800.00
 04/30/2013 Interest Income                                                       0.13
 05/03/2013 Social Security Benefits                                          1,880.00
 05/08/2013 Rental Income                                                     1,800.00



                          See Independent Accountants' Compilation Report




                                              EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 39 of 59




                        GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                    TRUST ACCOUNTING
                          FOR THE PERIOD FROM OCTOBER 31, 2011
                                  THROUGH APRIL 30, 2015

                                 Schedule A - Receipts During Period
                     (Does not include receipts from sale of other dispositions of
                   principal assets. Such transactions are shown on Schedule D.)

 Date                Brief Description of Items                             Income       Principal

 SUNTRUST CHECKING ACCOUNT #                  1405 {continued}
 05/31/2013 Interest Income                                                       0.17
 06/03/2013 Social Security Benefits                                          1,880.00
 06/13/2013 Rental Income                                                     1,800.00
 06/28/2013 Cable TV Refund                                                       0.11
 06/28/2013 Dividend Income - Travellers                                         36.00
 07/01/2013 Miscellaneous dividends                                             179.46
 07/03/2013 Social Security Benefits                                          1,880.00
 07/09/2013 Rental Income                                                     1,430.00
 07/31/2013 Interest Income                                                       0.17
 08/02/2013 Social Security Benefits                                          1,880.00
 08/07/2013 Rental Income                                                     1,471.00
 08/31/2013 Interest income                                                       0.10
 09/03/2013 Social Security Benefits                                          1,880.00
 09/06/2013 Rental Income                                                     1,035.00
 09/30/2013 Dividend Income - Travellers                                         36.00
 09/30/2013 Interest income                                                       0.22
 10/03/2013 Social Security Benefits                                          1,880.00
 10/10/2013 Rental Income                                                     1,800.00
 10/28/2013 Reimburse                                                           185.10
 10/31/2013 Interest Income                                                       0.21
 11/01/2013 Social Security Benefits                                          1,880.00
 11/07/2013 Rental income                                                     1,800.00
 11/29/2013 Interest Income                                                       0.16
 12/03/2013 Social Security Benefits                                          1,880.00
  12/09/2013 Rental income                                                    1,800.00
 12/31/2013 Dividend Income - Travellers                                         36.00
  12/31/2013 Interest Income                                                      0.14
 01/03/2014 Social Security Benefits                                          1,854.90
 01/08/2014 Rental income                                                     1,800.00
 01/31/2014 Interest Income                                                       0.35
 02/03/2014 Social Security Benefits                                          1,854.90
  02/04/2014 Transfer from George Abromats Trust                             22,771.59      5,228.41
  02/13/2014 Rental Income                                                    1,800.00


                          See Independent Accountants' Compilation Report




                                              EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 40 of 59




                         GLORIA J. ABROMATS TRUST UA OTO 9/15/2005
                                     TRUST ACCOUNTING
                          FOR THE PERIOD FROM OCTOBER 31, 2011
                                   THROUGH APRIL 30, 2015

                                  Schedule A - Receipts During Period
                      (Does not include receipts from sale of other dispositions of
                    principal assets. Such transactions are shown on Schedule D.)

 Date                  Brief Description of Items                            Income       Principal



 SUNTRUST CHECKING ACCOUNT                      1405 {continued}
 02/28/2014 Interest Income                                                        0.29
 03/03/2014 Social Security Benefits                                           1,854.90
 03/04/2014 Deposit                                                           10,000.00
 03/31/2014 Dividend Income - Travellers                                          36.00
 03/31/2014 Interest Income                                                        0.26
 04/03/2014 Social Security Benefits                                           1,854.90
 04/30/2014 Interest Income                                                        0.30
 05/02/2014 Social Security Benefits                                           1,854.90
 05/30/2014 Interest Income                                                        0.27
 06/03/2014 Social Security Benefits                                           1,854.90
 06/19/2014 Transfer from George Abromats Trust                                             9,478.87
 06/30/2014 Dividend Income - Travellers                                          39.60
 06/30/2014 Interest Income                                                        0.12
 07/03/2014 Social Security Benefits                                           1,854.90
 07/18/2014 Transfer from George Abromats Trust                                            52,816.98
 07/31/2014 Interest Income                                                        0.23
 08/01/2014 Social Security Benefits                                           1,854.90
 08/29/2014 Interest Income                                                        0.25
 09/03/2014 Social Security Benefits                                           1,854.90
 09/30/2014 Dividend Income - Travellers                                          39.60
 09/30/2014 Interest Income                                                        0.12
 10/03/2014 Social Security Benefits                                           1,854.90
 10/31/2014 Interest Income                                                        0.15
 11/03/2014 Social Security Benefits                                           1,854.90
 11/28/2014 Interest Income                                                        0.16
 12/03/2014 Social Security Benefits                                           1,854.90
 12/31/2014 Dividend Income - Travellers                                          39.60
 12/31/2014 Interest Income                                                        0.16
 01/02/2015 Social Security Benefits                                           1,944.00
 01/12/2015 Transfer from George Abromats Trust                                6,727.30    35,272.70
 01/14/2015 Transfer from Cliff Abromats - refund overage on gift                          28,000.00
  01/22/2015 Miscellaneous refunds and dividends                                  67.26


                           See Independent Accountants' Compilation Report



                                               EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 41 of 59




                        GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                    TRUST ACCOUNTING
                          FOR THE PERIOD FROM OCTOBER 31, 2011
                                  THROUGH APRIL 30, 2015

                                 Schedule A - Receipts During Period
                     (Does not include receipts from sale of other dispositions of
                   principal assets. Such transactions are shown on Schedule D.)

 Date                Brief Description of Items                             Income       Principal



 SUNTRUST CHECKING ACCOUNT #                      1405 {continued}
 01/30/2015 Interest Income                                                       0.34
 02/03/2015 Social Security Benefits                                          1,944.00
 02/27/2015 Interest Income                                                       0.41
 03/03/2015 Social Security Benefits                                          1,944.00
 03/31/2015 Dividend Income - Travellers                                         39.60
 03/31/2015 Interest Income                                                       0.16
 04/03/2015 Social Security Benefits                                          1,944.00
 04/30/2015 Interest Income                                                       0.11
 05/06/2015 Deposit - Refunds                                                 8,078.39
 05/29/2015 Interest Income                                                       0.16

 SUNTRUST CHECKING ACCOUNT #             4383
 11/28/2011 Interest Income                                                       9.10
 12/12/2011 Deposit                                                           9,738.77
 12/28/2011 Interest Income                                                      23.82
 12/30/2011 Transfer from George Abromats Trust                               4,698.57    21,301.43
 01/27/2012 Interest Income                                                      19.68
 02/03/2012 Transfer from George Abromats Trust                              24,056.48    15,943.52
 02/08/2012 Bank Charge                                                          15.00
 02/08/2012 Miscellaneous dividends and refunds                                  69.97
 02/27/2012 Interest Income                                                      18.01
 03/28/2012 Interest Income                                                      17.36
 04/26/2012 Interest Income                                                      16.44
 05/29/2012 Interest Income                                                      17.83
 06/28/2012 Interest Income                                                      10.02
 07/06/2012 Deposit                                                          20,019.01
 07/27/2012 Interest Income                                                       9.34
 08/29/2012 Interest Income                                                       4.37
 08/31/2012 Miscellaneous dividends and refunds                                 305.32
 09/05/2012 Miscellaneous dividends and refunds                                 100.91
  09/26/2012 Interest Income                                                     21.31
  10/29/2012 Interest Income                                                     20.46


                          See Independent Accountants' Compilation Report




                                             EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 42 of 59




                       GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                   TRUST ACCOUNTING
                        FOR THE PERIOD FROM OCTOBER 31, 2011
                                 THROUGH APRIL 30, 2015

                                Schedule A - Receipts During Period
                    (Does not include receipts from sale of other dispositions of
                  principal assets. Such transactions are shown on Schedule D.)

 Date                Brief Description of Items                            Income           Principal


 SUNTRUST CHECKING ACCOUNT #            4383 (continued)
 11/13/2012 Deposit- from State Farm                                           824.58
 11/28/2012 Interest Income                                                      2.99
 12/27/2012 Interest Income                                                      0.54
 01/29/2013 Interest Income                                                      0.06                    I
 02/26/2013 Interest Income                                                      0.05
 03/27/2013 Interest Income                                                      0.05
 04/26/2013 Interest Income                                                      0.05
 05/29/2013 Interest Income                                                      0.49
 06/26/2013 Interest Income                                                      0.25
 07/29/2013 Interest Income                                                      0.30
 08/28/2013 Interest Income                                                      0.17
 09/06/2013 Transfer from George Abromats Trust                                              60,241.16
 09/26/2013 Interest Income                                                         0.93
 10/26/2013 Interest Income                                                         1.48
 11/26/2013 Interest Income                                                         1.24
 12/27/2013 Interest Income                                                         0.88
 01/29/2014 Interest Income                                                         0.32
 02/20/2014 Interest Income                                                         0.20



 TOTAL RECEIPTS DURING PERIOD                                       $      312,424.95      $257,492.06




                         See Independent Accountants' Compilation Report




                                             EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 43 of 59




                                        GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                                    TRUST ACCOUNTING
                                         FOR THE PERIOD FROM OCTOBER 31, 2011
                                                  THROUGH APRIL 30, 2015

                                             Schedule B Disbursements During Period
                                            (Does not include purchases of principal assets.
                                            Such transactions are shown on schedule D.)

   Date                      Brief Description of Items                                        Income      Principal

WELLS FARGO BROKERAGE ACCOUNT #8943
  5/29/2012             Check written                       #RC019844082                                   25,000.00


SUNTRUST CHECKING ACCOUNT #                1405
  11/03/2011   5444     Finest Lawn Care                    1813 NE 27 St Expense                  80.00
  11/03/2011   5443     Independence Hall                   Living Expenses                     3,600.00
  11/04/2011    EFT     Comcast                             Cable TV                               91.50
  11/08/2011   5445     Broward County Tax Collector        1813 NE 27 St Expense               5,093.61
  11/09/2011   5448     Jack Baxter Jr                      Legal Fees                          3,304.00     3,304.00
  11/09/2011    EFT     Gift to Cliff Abromats                                                              13,631.18
  11/11/2011   5449     Ahearn Jasco                        Accountant                            522.50       522.50
  11/11/2011   5450     Ahearn Jasco                        Accountant                            600.00       600.00
  11/14/2011   5452     Janice Worobec                      Reimburse Medications                 268.96
  11/15/2011   5447     Terry's Plumbing                    1813 NE 27 St Expense               2,000.00
  11/17/2011   5451     Janice Worobec                      Reimburse Expenses                    815.60
  11/28/2011   5454     Alternative Home Health             Medical                               750.00
  11/28/2011    EFT     AT&T                                Telephone                              50.83
  11/30/2011    EFT     FPL                                 Utilities                              51.63
  12/02/2011    EFT     Comcast                             Cable TV                               91.70
  12/02/2011    5457    Finest Lawn Care                    1813 NE 27 St Expense                 130.00
  12/02/2011    5455    Independence Hall                   Living Expenses                       200.00
  12/02/2011    5456    Independence Hall                   Living Expenses                     3,663.00
  12/05/2011    EFT     FPL                                 Utilities                              51.53
  12/05/2011    5466     Janice Worobec                     Reimburse Expenses                    895.50
  12/13/2011    5464     Universal Arts                     Prescriptions                         241.37
  12/15/2011    5461     Cliff Abromats                     Reimburse Expenses                  3,508.30
  12/15/2011    5460     Terry's Plumbing                   1813 NE 27 St Expense               2,000.00
  12/15/2011    5462     United Healthcare Insurance        Medical Insurance                     489.60
  12/16/2011    5463     Cliff Abromats                     Reimburse Expenses                     68.10
  12/23/2011    5469     Alternative Home Health            Medical                               434.00
  12/23/2011    5470     Alternative Home Health            Medical                               434.00
  12/23/2011    5471     Alternative Home Health            Medical                               434.00
  12/23/2011    EFT      AT&T                               Telephone                              51.78
  12/23/2011    5468     Finest Lawn Care                   1813 NE 27 St Expense                  80.00
  12/27/2011    5465     Terry's Plumbing                   1813 NE 27 St Expense               6,188.65
  12/29/2011    5474     Alternative Home Health            Medical                               465.00
  12/29/2011    EFT      Sun Trust                          Transaction fee                        14.95
  12/29/2011    5489     United Reconstruction Group        1813 NE 27 St Expense               3,212.34
  01/04/2012    EFT      Comcast                            Cable TV                               91.71
  01/05/2012    5477     Alternative Home Health            Medical                               465.00
  01/05/2012    5478     Independence Hall                  Living Expenses                     3,694.00
  01/19/2012    EFT      Over the Counter Withdrawal        Household                           1,000.00
  02/06/2012    EFT      AT&T                               Telephone                              54.81
  02/06/2012   5481\3     Independence Hall                 Living Expenses                     3,580.00
  02/07/2012    EFT      FPL                                Utilities                              63.76
  02/09/2012    5481     Janice Worobec                     Reimburse State Farm Insurance        926.24
  02/10/2012    5484      Alternative Home Health           Medical                             1,050.00
  02/10/2012    5485     Alternative Home Health            Medical                             1,312.00
  02/10/2012    EFT       Comcast                           Cable TV                               91.72
  02/10/2012    5486     Finest Lawn Care                   1813 NE 27 St Expense                 145.00



                                         See Independent Accountants' Compilation Report




                                                           EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 44 of 59




                                         GLORIA J. ABROMATS TRUST UA OTO 9/15/2005
                                                     TRUST ACCOUNTING
                                          FOR THE PERIOD FROM OCTOBER 31, 2011
                                                   THROUGH APRIL 30, 2015

                                              Schedule B Disbursements During Period
                                             (Does not include purchases of principal assets.
                                             Such transactions are shown on schedule D.)

    Date                      Brief Description of Items                                        Income        Principal

SUNTRUST CHECKING ACCOUNT               1405 {continued}
  02/11/2012  5488   Universal Arts                    Prescriptions                               175.58
  02/14/2012  EFT    AT&T                              Telephone                                     47.66
  02/15/2012  5491   Alternative Home Health           Medical                                   1,050.00
  02/16/2012  5489   United Reconstruction Group       1813 NE 27 St Expense                     3,212.34
  02/22/2012  EFT    FPL                               Utilities                                     60.03
  02/24/2012  5493   Alternative Home Health           Medical                                   1,050.00
  03/01/2012  5496   Alternative Home Health           Medical                                   1,099.00
  03/02/2012  5495   Janice Worobec                    Reimburse Expenses                          149.10
  03/02/2012  5494   Janice Worobec                    Reimburse Expenses                          204.10
  03/03/2012  5505   Alternative Home Health           Medical                                   1,099.00
  03/05/2012  5498   Independence Hall                 Living Expenses                           3,510.00
  03/08/2012  5500   Alternative Home Health           Medical                                   1,225.00
  03/08/2012  5502   Broward Ambulance                 Medical                                       88.50
  03/08/2012  EFT    Comcast                           Cable TV                                      91.72
  03/08/2012  5499   Finest Lawn Care                  1813 NE 27 St Expense                         80.00
  03/12/2012  5503   Universal Arts                    Prescriptions                               182.97
  03/13/2012  EFT    AT&T                              Telephone                                     53.40
  03/14/2012  5508   Alternative Home Health           Medical                                   1,099.00
  03/15/2012  5507   Finest Lawn Care                  1813 NE 27 St Expense                         80.00
  03/16/2012  EFT    FPL                               Utilities                                     58.93
  03/21/2012  5510   Alternative Home Health           Medical                                   1,099.00
  03/26/2012  5509   Janice Worobec                    Reimburse Expenses                          209.10
  03/28/2012  5517    Alternative Home Health          Medical                                   1,099.00
  03/30/2012  5511   Broward Ambulance                 Medical                                     285.32
  03/31/2012  5516   Independence Hall                 Living Expenses                           3,842.00
  04/02/2012   EFT   Comcast                           Cable TV                                      91.72
  04/02/2012   EFT   Sun Trust                         Credit Card Payment                           10.00
  04/03/2012   EFT   State Farm Insurance              Umbrella Insurance                        1,017.96
  04/06/2012  5518    Universal Arts                   Prescriptions                                478.41
  04/11/2012  5519   Jack Baxter Jr                     Legal Fees                                  781.75         781.75
  04/12/2012  5520   Alternative Home Health           Medical                                   1,174.00
  04/14/2012   EFT   AT&T                              Telephone                                     51.31
  04/14/2012  5522    Finest Lawn Care                  1813 NE 27 St Expense                        80.00
  04/17/2012  5523    Alternative Home Health           Medical                                  1,099.00
  04/17/2012   EFT    FPL                               Utilities                                    66.38
  04/26/2012  5524    Alternative Home Health           Medical                                  1,099.00
  05/02/2012  5526    Alternative Home Health           Medical                                  1,099.00
  05/03/2012   EFT    Comcast                           Cable TV                                     91.72
  05/03/2012  5527    Independence Hall                 Living Expenses                          3,650.00
  05/07/2012   EFT    State Farm Insurance              1813 NE 27th St Expense                     536.01
  05/09/2012  5529    Janice Worobec                    Reimburse Expenses                          154.10
  05/09/2012   5530   Janice Worobec                    Reimburse Expenses                          298.20
   05/11/2012  5533   Finest Lawn Care                  1813 NE 27 St Expense                       130.00
  05/17/2012   1099   Alternative Home Health           Medical                                   1,099.00
   05/17/2012  EFT    AT&T                              Telephone                                     51.31
   05/17/2012  5535    Universal Arts                   Prescriptions                               156.02
   05/19/2012  5534   Alternative Home Health           Medical                                   1,099.00
   05/20/2012  EFT    United American                   Medical Insurance                         3,661.40
   05/22/2012  EFT    FPL                                Utilities                                    67.68



                                           See Independent Accountants' Compilation Report




                                                            EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 45 of 59



                                         GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                                     TRUST ACCOUNTING
                                          FOR THE PERIOD FROM OCTOBER 31, 2011
                                                   THROUGH APRIL 30, 2015

                                              Schedule B - Disbursements During Period
                                             (Does not include purchases of principal assets.
                                             Such transactions are shown on schedule D.�

    Date                      Brief Description of Items                                        Income       Principal

SUNTRUST CHECKING ACCOUNT               1405 {continued}
  06/01/2012  5538   Alternative Home Health           Medical                                   1,099.00
  06/01/2012  5541   Alternative Home Health           Medical                                   1,099.00
  06/01/2012  EFT    Comcast                           Cable TV                                      91.72
  06/01/2012  5540   Independence Hall                 Living Expenses                           3,650.00
  06/08/2012  5544   Alternative Home Health           Medical                                   1,174.00
  06/08/2012  5543   Finest Lawn Care                  1813 NE 27 St Expense                         80.00
  06/09/2012  5545   Universal Arts                    Prescriptions                               164.14
  06/18/2012  5547   Alternative Home Health           Medical                                   1,099.00
  06/18/2012  EFT    AT&T                              Telephone                                     51.26
  06/18/2012  EFT    State Farm Automobile Insurance Insurance - Automobile                        883.08
  06/20/2012  5550   Alternative Home Health           Medical                                   1,099.00
  06/21/2012  EFT    FPL                               Utilities                                     75.49
  06/22/2012  5549   Janice Worobec                    Reimburse Expenses                          550.40
  06/27/2012  5551   Alternative Home Health           Medical                                   1,099.00
  07/05/2012  5553   Alternative Home Health           Medical                                   1,099.00
  07/05/2012  5559   Finest Lawn Care                  1813 NE 27 St Expense                         80.00
  07/06/2012  EFT    Withdrawal                        Household                                   500.00
  07/08/2012  5558   Alternative Home Health           Medical                                   1,174.00
  07/10/2012  EFT    Comcast                           Cable TV                                      91.72
  07/10/2012  5556   Independence Hall                 Living Expenses                           3,702.00
  07/10/2012  5554   Universal Arts                    Prescriptions                                155.36
  07/13/2012  5557   Jack Baxter Jr                    Legal Fees                                   649.00        649.00
  07/18/2012  5562   Alternative Home Health           Medical                                   1,099.00
  07/18/2012  EFT    AT&T                              Telephone                                     51.81
  07/19/2012   EFT   FPL                               Utilities                                     93.94
  07/26/2012  5563   Alternative Home Health           Medical                                   1,099.00
  07/31/2012  5560   Cliff Abromats                    Reimburse Expenses                        2,294.78
  08/01/2012   EFT    Comcast                          Cable TV                                      91.72
  08/07/2012  5566    Cliff Abromats                   Hearing Aids Reimbursement                3,600.00
  08/07/2012  5568    Universal Arts                   Prescriptions                                147.95
  08/10/2012  5569    Alternative Home Health          Medical                                   1,050.00
  08/10/2012  5570    Alternative Home Health          Medical                                   1,148.00
  08/12/2012  5567    Independence Hall                Living Expenses                           3,650.00
  08/14/2012  5572   Alternative Home Health           Medical                                   1,099.00
  08/20/2012  5573   Finest Lawn Care                  1813 NE 27 St Expense                     1,049.38
  08/23/2012   EFT   FPL                               Utilities                                     87.70
  08/24/2012  5574    Alternative Home Health          Medical                                   1,099.00
  08/29/2012  5575    Janice Worobec                   Reimburse Expenses                           548.40
  09/07/2012  5578    Alternative Home Health           Medical                                  1,099.00
  09/07/2012   EFT    Comcast                           Cable TV                                    102.85
  09/07/2012  5580    Finest Lawn Care                 1813 NE 27 St Expense                         80.00
  09/07/2012  5579    Independence Hall                 Living Expenses                          3,732.00
  09/10/2012  5581    Alternative Home Health           Medical                                   1,099.00
  09/12/2012  5583    Alternative Home Health           Medical                                   1,174.00
  09/12/2012  5582    Universal Arts                    Prescriptions                               158.32
   09/17/2012  EFT    AT&T                              Telephone                                    62.30
   09/18/2012 5585    Alternative Home Health           Medical                                   1,099.00
   09/20/2012  EFT    FPL                               Utilities                                    74.89
   10/01/2012 5587    Alternative Home Health           Medical                                   1,099.00



                                          See Independent Accountants' Compilation Report




                                                            EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 46 of 59



                                         GLORIA J. ABROMATS TRUST UA OTO 9/15/2005
                                                     TRUST ACCOUNTING
                                          FOR THE PERIOD FROM OCTOBER 31, 2011
                                                   THROUGH APRIL 30, 2015

                                              Schedule B Disbursements During Period
                                             (Does not include purchases of principal assets.
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    Date                      Brief Description of Items                                        Income       Principal

SUNTRUST CHECKING ACCOUNT               1405 (continued}
  10/01/2012  EFT    Comcast                           Cable TV                                    102.85
  10/02/2012  5588   Finest Lawn Care                  1813 NE 27 St Expense                         80.00
  10/05/2012  5592   Independence Hall                 Living Expenses                           3,712.00
  10/05/2012  5595   Universal Arts                    Prescriptions                               118.05
  10/11/2012  5593   Alternative Home Health           Medical                                   1,050.00
  10/11/2012  5594   Alternative Home Health           Medical                                   1,141.00
  10/15/2012  EFT    AT&T                              Telephone                                     57.41
  10/18/2012  5597   Alternative Home Health           Medical                                   1,099.00
  10/24/2012  EFT    FPL                               Utilities                                     80.58
  10/30/2012  5598   Alternative Home Health           Medical                                   1,099.00
  11/02/2012  5600   Alternative Home Health           Medical                                   1,099.00
  11/02/2012  EFT    Comcast                           Cable TV                                    102.84
  11/02/2012  5601   Finest Lawn Care                  1813 NE 27 St Expense                         80.00
  11/02/2012  5602   Independence Hall                 Living Expenses                           3,650.00
  11/07/2012  5603   Holy Cross Hospital               Medical                                     137.38
  11/07/2012  5604   Janice Worobec                    Reimburse Expenses                          456.40
  11/08/2012  5606   Alternative Home Health           Medical                                   1,099.00
  11/14/2012   EFT   Broward County Tax Collector      1813 NE 27 St Expense                     4,901.32
  11/16/2012  5608   Ahearn Jasco                      Accountant                                  700.00         700.00
  11/16/2012  5609   Ahearn Jasco                      Accountant                                  937.50         937.50
  11/16/2012  5607   Alternative Home Health           Medical                                   1,099.00
  11/16/2012  5610   Universal Arts                    Prescriptions                               140.14
  11/18/2012  EFT    AT&T                              Telephone                                     53.15
  11/18/2012  5612   UnitedHealthcare                  MRP Insurance                               496.80
  11/20/2012   EFT    FPL                              Utilities                                     46.69
  11/27/2012  5613   Alternative Home Health           Medical                                   1,099.00
  12/03/2012   EFT   Comcast                           Cable TV                                     102.85
  12/04/2012  5616    Independence Hall                Living Expenses                           3,708.00
  12/10/2012  5617    Alternative Home Health          Medical                                   1,099.00
  12/10/2012  5618    Finest Lawn Care                 1813 NE 27 St Expense                        130.00
  12/11/2012   EFT    AT&T                             Telephone                                     52.38
  12/11/2012  5620    Universal Arts                   Prescriptions                                128.29
  12/18/2012  5622    Alternative Home Health           Medical                                  1,099.00
  12/18/2012   EFT    FPL                              Utilities                                     42.95
  12/18/2012   EFT    State Farm Automobile Insurance Insurance Automobile                          926.72
  12/28/2012  5624    Alternative Home Health           Medical                                  1,099.00
  12/28/2012  5623    Alternative Home Health           Medical                                  1,174.00
  12/29/2012  5625    Alternative Home Health           Medical                                  1,099.00
  01/06/2013  5628    Alternative Home Health           Medical                                  1,174.00
  01/07/2013  5627    Independence Hall                 Living Expenses                          3,722.00
  01/11/2013  5631    Finest Lawn Care                  1813 NE 27 St Expense                        80.00
  01/13/2013   EFT    Comcast                           Cable TV                                    106.59
  01/14/2013  5630    David Rooney, MD                  Medical                                     150.00
  01/14/2013  5629    David Rooney, MD                  Medical                                     357.63
   01/20/2013 5634    Alternative Home Health           Medical                                  1,099.00
  01/20/2013   EFT    AT&T                              Telephone                                    52.29
  01/20/2013   5635   Janice Worobec                    Reimburse Expenses                          238.20
   01/22/2013  EFT    Universal Arts                    Prescriptions                               127.69
   01/23/2013  5637   Alternative Home Health           Medical                                   1,099.00



                                          See Independent Accountants' Compilation Report




                                                            EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 47 of 59




                                         GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                                     TRUST ACCOUNTING
                                          FOR THE PERIOD FROM OCTOBER 31, 2011
                                                   THROUGH APRIL 30, 2015

                                              Schedule B - Disbursements During Period
                                             (Does not include purchases of principal assets.
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    Date                      Brief Descrietion of Items                                        Income       Princieal

SUNTRUST CHECKING ACCOUNT                1405 {continued}
  01/23/2013  EFT    FPL                                Utilities                                   46.48
  02/02/2013  5639   Alternative Home Health            Medical                                  1,099.00
  02/02/2013  EFT    Comcast                            Cable TV                                   106.59
  02/05/2013  EFT    FPL                                Utilities                                   48.48
  02/06/2013  5643   Alternative Home Health            Medical                                  1,099.00
  02/06/2013  5641   Finest Lawn Care                   1813 NE 27 St Expense                       80.00
  02/06/2013  5640   Independence Hall                  Living Expenses                          3,664.00
  02/13/2013  5647   Cliff Abromats                     Gifts                                                14,000.00
  02/13/2013  5646   Janice Worobec                     Gifts                                                14,000.00
  02/13/2013  5645   Letitia Abromats                   Gifts                                                14,000.00
  02/13/2013  5644   Philip Abromats                    Gifts                                                14,000.00
  02/13/2013  5648   Rajendra Vakharia                  Condo rental                                         23,900.00
  02/24/2013  5649   Alternative Home Health            Medical                                  1,099.00
  02/24/2013  5650   Alternative Home Health            Medical                                  1,099.00
  02/24/2013  EFT    AT&T                               Telephone                                    52.72
  03/02/2013  5656   Alternative Home Health            Medical                                  1,099.00
  03/02/2013  EFT    Comcast                            Cable TV                                   106.59
  03/02/2013  5654   Finest Lawn Care                   1813 NE 27 St Expense                        80.00
  03/02/2013  5655   Independence Hall                  Living Expenses                          3,694.00
  03/02/2013  5658   Universal Arts                     Prescriptions                                70.50
  03/05/2013  5653   Janice Worobec                     Reimburse Expenses                         240.10
  03/07/2013  5659   Alternative Home Health             Medical                                 1,099.00
  03/13/2013  5661   Alternative Home Health            Medical                                  1,099.00
  03/13/2013  5660    Universal Arts                    Prescriptions                                69.62
  03/18/2013   EFT    AT&T                               Telephone                                   51.86
  03/19/2013   EFT   FPL                                 Utilities                                   40.88
  03/22/2013   EFT   Withdrawal                         Household                                  500.00
  03/26/2013  5663    Alternative Home Health           Medical                                  1,099.00
  03/29/2013  5664   Alternative Home Health             Medical                                 1,099.00
  03/29/2013   EFT    Comcast                            Cable TV                                   106.59
  03/29/2013  5665    Finest Lawn Care                   1813 NE 27 St Expense                       80.00
  03/29/2013  5667    Janice Worobec                     Reimburse Expenses                         377.50
  03/29/2013  5668    Janice Worobec                     Reimburse Expenses                         555.20
  04/02/2013  5671    Independence Hall                  Living Expenses                         4,001.00
  04/10/2013  5673    Alternative Home Health            Medical                                 1,099.00
  04/10/2013  5672    Alternative Home Health            Medical                                 1,174.00
  04/15/2013   EFT    AT&T                               Telephone                                   51.86
  04/15/2013  5675    Universal Arts                     Prescriptions                               70.50
  04/18/2013   EFT    FPL                                Utilities                                   51.77
  04/19/2013  5676    Alternative Home Health            Medical                                 1,099.00
   04/26/2013 5677    Alternative Home Health            Medical                                 1,099.00
  05/01/2013  5678    Alternative Home Health            Medical                                 1,099.00
  05/01/2013   5679   David Rooney, MD                   Medical                                    230.02
   05/13/2013  5685   Alternative Home Health            Medical                                  1,099.00
   05/13/2013  EFT    Comcast                            Cable TV                                   106.59
   05/13/2013  5681    Independence Hall                  Living Expenses                         3,867.00
   05/13/2013  EFT    State Farm Insurance                1813 NE 27th St Expense                   962.60
   05/13/2013  5683    Universal Arts                     Prescriptions                              78.39
   05/21/2013  5686   Alternative Home Health            Medical                                  1,099.00



                                           See Independent Accountants' Compilation Report




                                                             EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 48 of 59



                                        GLORIA J. ABROMATS TRUST UA OTO 9/15/2005
                                                    TRUST ACCOUNTING
                                         FOR THE PERIOD FROM OCTOBER 31, 2011
                                                  THROUGH APRIL 30, 2015

                                             Schedule B Disbursements During Period
                                            (Does not include purchases of principal assets.
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    Date                     Brief Description of Items                                        Income      Principal

SUNTRUST CHECKING ACCOUNT               1405 {continued}
  05/21/2013 EFT     AT&T                              Telephone                                   51.73
  05/21/2013 5689    Edward Walker, MD                 Medical                                     15.38
  05/21/2013 EFT     United American                   Medical Insurance                        3,790.40
  05/22/2013 EFT     FPL                               Utilities                                   46.35
  05/24/2013 5690    Alternative Home Health           Medical                                  1,099.00
  05/29/2013 5691    Finest Lawn Care                  1813 NE 27 St Expense                      160.00
  06/06/2013 5695    Alternative Home Health           Medical                                  1,099.00
  06/06/2013 5696    Alternative Home Health           Medical                                  1,174.00
  06/06/2013 EFT     Comcast                           Cable TV                                   106.59
  06/06/2013 5693    Independence Hall                 Living Expenses                          3,809.00
  06/10/2013 5697    Universal Arts                    Prescriptions                               70.50
  06/12/2013 5698    Alternative Home Health           Medical                                  1,099.00
  06/14/2013 EFT     AT&T                              Telephone                                   51.79
  06/17/2013 EFT     State Farm Automobile Insurance Insurance Automobile                         875.44
  06/18/2013 EFT     FPL                               Utilities                                   57.44
  06/25/2013 5701    Janice Worobec                    Reimburse Expenses                         553.20
  07/01/2013 5702    Alternative Home Health           Medical                                  1,099.00
  07/01/2013 5703    Alternative Home Health           Medical                                  1,099.00
  07/01/2013 EFT     Withdrawal                        Household                                1,000.00
  07/05/2013 5705    Alternative Home Health           Medical                                  1,099.00
  07/05/2013 5706    Independence Hall                 Living Expenses                          3,816.00
  07/11/2013 5707    Alternative Home Health           Medical                                  1,174.00
  07/11/2013 EFT     Comcast                           Cable TV                                   106.59
  07111/2013 5710    Finest Lawn Care                  1813 NE 27 St Expense                       80.00
  07/11/2013 5709    Universal Arts                    Prescriptions                               66.40
  07/18/2013 EFT     FPL                               Utilities                                   64.80
  07/23/2013 EFT     AT&T                              Telephone                                   52.34
  07/24/2013 5712    Cliff Abromats                    Reimburse Expenses                       7,851.45
  07/26/2013 5714    Alternative Home Health           Medical                                  1,863.00
  07/26/2013 5713    Alternative Home Health           Medical                                  2,436.00
  07/30/2013 5716    Janice Worobec                    Reimburse Expenses                         802.60
  07/30/2013 5715    Janice Worobec                    Reimburse Expenses                         954.60
  07/31/2013 EFT     Comcast                           Cable TV                                   106.59
  08/01/2013 5718    Alternative Home Health           Medical                                  2,436.00
  08/01/2013 5719    Finest Lawn Care                  1813 NE 27 St Expense                      105.00
  08/01/2013 5720    Independence Hall                 Living Expenses                          3,840.00
  08/12/2013 5722    Alternative Home Health           Medical                                  2,436.01
  08/12/2013 5723    Universal Arts                    Prescriptions                               66.50
  08/14/2013 5724    Alternative Home Health           Medical                                  2,436.02
  08/17/2013 EFT     FPL                               Utilities                                   31.93
  08/20/2013 EFT     AT&T                              Telephone                                   56.16
  08/20/2013 5725    Janice Worobec                    Reimburse Expenses                         633.20
  08/23/2013 5727    Alternative Home Health           Medical                                  2,439.63
  08/29/2013  EFT    Comcast                           Cable TV                                   106.59
  08/30/2013 5729    Finest Lawn Care                  1813 NE 27 St Expense                       80.00
  09/05/2013 5732    Alternative Home Health           Medical                                  2,436.00
  09/05/2013 5731     Independence Hall                Living Expenses                          3,795.00
  09/10/2013 5734    Alternative Home Health           Medical                                  1,484.63
  09/10/2013 5733    Universal Arts                    Prescriptions                              134.09



                                         See Independent Accountants' Compilation Report




                                                           EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 49 of 59




                                          GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                                      TRUST ACCOUNTING
                                           FOR THE PERIOD FROM OCTOBER 31, 2011
                                                    THROUGH APRIL 30, 2015

                                               Schedule B Disbursements During Period
                                              (Does not include purchases of principal assets.
                                              Such transactions are shown on schedule D.}

    Date                       Brief Description of Items                                          Income       Principal

SUNTRUST CHECKING ACCOUNT                1405 {continued}
  09/12/2013  5735   Alternative Home Health            Medical                                     1,174.00
  09/12/2013  5736   Finest Lawn Care                   1813 NE 27 St Expense                          80.00
  09/13/2013  5737   Weil Orthopedic Centers            Medical                                        36.97
  09/19/2013  EFT    FPL                                Utilities                                      55.94
  09/24/2013  5738   Alternative Home Health            Medical                                     1,099.00
  09/25/2013  EFT    AT&T                               Telephone                                      55.90
  09/27/2013  5741   Alternative Home Health            Medical                                     1,099.00
  09/27/2013  5739   Janice Worobec                     Reimburse Airfare                             400.00
  10/02/2013  5743   Cliff Abromats                     Reimburse - Vault at Lauderdale Memorial    1,555.00
  10/02/2013  EFT    Comcast                            Cable TV                                      106.59
  10/02/2013  EFT    Sun Trust                          Credit Card Payment                            10.00
  10/03/2013  5746   Alternative Home Health            Medical                                     1,099.00
  10/03/2013  5747   Independence Hall                  Living Expenses                             3,867.00
  10/07/2013  5748   Ahearn Jasco                       Accountant                                    600.00         600.00
  10/07/2013  5749   Ahearn Jasco                       Accountant                                    700.00         700.00
  10/07/2013  5750   Universal Arts                     Prescriptions                                  72.40
  10/08/2013  5751   Edward Walker, MD                  Medical                                       131.62
  10/13/2013  5753   Alternative Home Health            Medical                                     1,099.00
  10/13/2013  5752   Finest Lawn Care                   1813 NE 27 St Expense                          80.00
  10/21/2013  5754   Alternative Home Health            Medical                                     1,099.00
  10/22/2013  EFT    FPL                                Utilities                                      56.65


                                                                                                                              I
  10/25/2013  5755   Alternative Home Health            Medical                                     1,099.00
  10/28/2013  EFT    Withdrawal                         Household                                     400.00
  11/01/2013  5758   Alternative Home Health            Medical                                     1,099.00
  11/01/2013  EFT    AT&T                               Telephone                                      55.40
  11/01/2013  EFT    Comcast                            Cable TV                                      106.59
  11/01/2013  5760   Janice Worobec                     Reimburse Expenses                            528.60
  11/01/2013  5759   Janice Worobec                     Reimburse Expenses                            613.20
  11/05/2013  5762   Independence Hall                  Living Expenses                             3,805.00
  11/06/2013  EFT    Broward County Tax Collector       1813 NE 27 St Expense                       5,435.05
  11/07/2013  5763   Alternative Home Health             Medical                                    1,099.00
  11/14/2013  5764   Ahearn Jasco                       Accountant                                    542.50         542.50
  11/14/2013  5768   Alternative Home Health             Medical                                    1,099.00
  11/14/2013   EFT   AT&T                               Telephone                                      56.33
  11/14/2013  5766   Finest Lawn Care                    1813 NE 27 St Expense                         80.00
  11/14/2013   EFT   Gift to Cliff Abromats                                                                       20,000.00
  11/14/2013  5765   Universal Arts                     Prescriptions                                   72.50
  11/18/2013   EFT    FPL                                Utilities                                      50.95
  11/21/2013  5769   Alternative Home Health             Medical                                     1,099.00
  11/30/2013  5770   Alternative Home Health             Medical                                     1,099.00
   11/30/2013 5772    Cliff Abromats                     Reimburse Expenses                            117.19
   11/30/2013 5771    Cliff Abromats                     Reimburse Expenses                          2,404.61
   12/05/2013 5774    Alternative Home Health            Medical                                     1,174.00
   12/05/2013  EFT   Comcast                             Cable TV                                      106.59
   12/05/2013 5775    Independence Hall                  Living Expenses                             3,867.00
   12/05/2013  5777   United Healthcare Insurance        Medical Insurance                             553.20
   12/09/2013  5778   Universal Arts                     Prescriptions                                  72.40
   12/11/2013  5779   Finest Lawn Care                   1813 NE 27 St Expense                          80.00
   12/11/2013  EFT    Withdrawal                         Household                                     700.00



                                            See Independent Accountants' Compilation Report




                                                             EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 50 of 59




                                      GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                                  TRUST ACCOUNTING
                                       FOR THE PERIOD FROM OCTOBER 31, 2011
                                                THROUGH APRIL 30, 2015

                                           Schedule B Disbursements During Period
                                          (Does not include purchases of principal assets.
                                          Such transactions are shown on schedule D.)

    Date                   Brief Descrietion of Items                                        Income       Princieal

 SUNTRUST CHECKING ACCOUNT               1405 {continued}
  12/12/2013   5780   Alternative Home Health             Medical                             1,099.00
  12/17/2013   EFT    FPL                                 Utilities                              49.34
  12/18/2013   EFT    AT&T                                Telephone                              55.88
  12/18/2013   EFT    State Farm Automobile Insurance     Insurance Automobile                  840.42
  12/20/2013   5783   Alternative Home Health             Medical                             1,099.00
  01/06/2014   5786   Alternative Home Health             Medical                             1,099.00
  01/06/2014   5785   Alternative Home Health             Medical                             1,174.00
  01/06/2014   5787   Independence Hall                   Living Expenses                     3,829.00
  01/10/2014          Cliff Abromats                      Reimburse Expenses                  9,353.50
  01/11/2014   5789   Alternative Home Health             Medical                             1,174.00
  01/11/2014   EFT    Comcast                             Cable TV                              108.88
  01/11/2014   5790   Finest Lawn Care                    1813 NE 27 St Expense                  80.00
  01/11/2014   5788   Universal Arts                      Prescriptions                          72.50
  01/15/2014   5792   Cliff Abromats                      Gifts                                           14,000.00
  01/15/2014   5793   Janice Worobec                      Gifts                                           14,000.00
  01/16/2014   5794   Alternative Home Health             Medical                             1,099.00
  01/21/2014   EFT    FPL                                 Utilities                              64.07
  01/24/2014   5795   Alternative Home Health             Medical                             1,099.00
  01/27/2014   EFT    AT&T                                Telephone                              55.88
  01/27/2014   5796   Janice Worobec                      Reimburse GJA Clothing                144.08
  01/27/2014   5797   Janice Worobec                      Reimburse Airfare                     519.00
  01/31/2014   5800   Alternative Home Health             Medical                             1,099.00
  01/31/2014   EFT    Comcast                             Cable TV                              108.66
  01/31/2014   EFT    Sun Trust                           Credit Card Payment                     1.00
  02/01/2014   5803   Letitia Abromats                    Gifts                                            14,000.00
  02/01/2014   5804   Philip Abromats                     Gifts                                            14,000.00
  02/10/2014   5805   Alternative Home Health             Medical                             1,099.00
  02/10/2014   5806   Independence Hall                   Living Expenses                     3,861.00
  02/11/2014   5807   Universal Arts                      Prescriptions                          87.46
  02/12/2014   EFT    Gift to Cliff Abromats                                                               10,000.00
  02/19/2014   5808   Alternative Home Health             Medical                             1,099.00
  02/19/2014   EFT    FPL                                 Utilities                              54.50
  02/23/2014   5809   Alternative Home Health             Medical                             1,099.00
  02/23/2014   5810   Finest Lawn Care                    1813 NE 27 St Expense                  80.00
  02/27/2014    EFT    AT&T                               Telephone                              56.07
  02/28/2014   5812   Alternative Home Health             Medical                             1,050.00
  02/28/2014    EFT    Gift to Cliff Abromats                                                               10,000.00
  03/04/2014   5814    Independence Hall                  Living Expenses                     3,795.00
  03/07/2014   5815    Alternative Home Health            Medical                             1,346.00
  03/12/2014   5816    Alternative Home Health            Medical                             1,099.00
  03/17/2014    EFT   Gift to Cliff Abromats                                                                10,000.00
  03/18/2014   5817    Finest Lawn Care                   1813 NE 27 St Expense                   80.00
  03/18/2014    EFT    FPL                                Utilities                               65.58
  03/19/2014    EFT    Cliff Abromats                     Reimburse Expenses                   4,765.91
  03/19/2014    EFT    Comcast                            Cable TV                               108.66
  03/22/2014    EFT    AT&T                               Telephone                               56.00
  03/24/2014   5824    Alternative Home Health            Medical                              1,099.00
  03/24/2014   5821    Janice Worobec                     Reimburse Airfare JJW 4/8/14           122.50
  03/24/2014   5822    Janice Worobec                     Reimburse Airfare GCA 4/8/14           122.50



                                       See Independent Accountants' Comp lation Report




                                                        EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 51 of 59




                                       GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                                   TRUST ACCOUNTING
                                        FOR THE PERIOD FROM OCTOBER 31, 2011
                                                 THROUGH APRIL 30, 2015

                                            Schedule B - Disbursements During Period
                                           (Does not include purchases of principal assets.
                                           Such transactions are shown on schedule D.)

   Date                     Brief Descrietion of Items                                         Income       Principal

SUNTRUST CHECKING ACCOUNT                   1405 {continued}
 03/24/2014    5823    Janice Worobec                      Reimburse Airfare GCA 3/26/14          129.50
 03/24/2014    5820    Janice Worobec                      Reimburse Airfare GCA 2/19/14          245.00
 03/26/2014    5825    Alternative Home Health             Medical                              1,099.00
 03/26/2014    EFT     Sun Trust                           Credit Card Payment                     10.00
 03/31/2014    EFT     Comcast                             Cable TV                               108.88
 04/03/2014    5828    Alternative Home Health             Medical                              1,099.00
 04/03/2014    5829    Independence Hall                   Living Expenses                      4,167.00
 04/07/2014    5830    Finest Lawn Care                    1813 NE 27 St Expense                   80.00
 04/07/2014    EFT     Gift to Cliff Abromats                                                                  5,000.00
 04/09/2014    5831    Universal Arts                      Prescriptions                          109.31
 04/10/2014    5833    Alternative Home Health             Medical                                499.00
 04/10/2014    5832    Alternative Home Health             Medical                                600.00
 04/17/2014    5834    Alternative Home Health             Medical                              1,099.00
 04/17/2014    EFT     FPL                                 Utilities                               68.95
 04/25/2014    5835    Alternative Home Health             Medical                              1,174.00
 04/25/2014    5836    Holy Cross Emergency Physican       Medical                                137.28
 04/28/2014    EFT     AT&T                                Telephone                               56.71
 04/28/2014    5838    Universal Arts                      Prescriptions                           87.84
 05/02/2014    5840    Alternative Home Health             Medical                              1,099.00
 05/02/2014    EFT     Comcast                             Cable TV                                 7.05
 05/02/2014    5841    Finest Lawn Care                    1813 NE 27 St Expense                   80.00
 05/02/2014    5842    Frank Vigliotti REMAX Preferred     1813 NE 27 St Expense                1,238.00
 05/02/2014    5839    Independence Hall                   Living Expenses                      3,979.00
 05/03/2014    5845    Cliff Abromats                      Reimburse Expenses 1 /1/14 5/2/14      779.50
 05/03/2014    5844    Cliff Abromats                      Reimburse Expenses 3/16/14-5/2/14    2,969.99
 05/09/2014    5846    Alternative Home Health             Medical                              1,099.00
 05/13/2014    5847     Universal Arts                     Prescriptions                           80.66
 05/15/2014     EFT    FPL                                 Utilities                               71.52
 05/18/2014    5848    Alternative Home Health             Medical                              1,099.00
 05/18/2014     EFT    AT&T                                Telephone                               56.02
 05/18/2014    5850    Rajendra Vakharia                   Condo Rental                                       23,900.00
 05/20/2014    5852     Cruz Painting                       1813 NE 27 St Expense                 750.00
 05/20/2014     EFT     Gift to Cliff Abromats                                                                10,000.00
 05/22/2014    5854     Alternative Home Health            Medical                               1,099.00
 05/22/2014    5853     Finest Lawn Care                    1813 NE 27 St Expense                   80.00
 05/22/2014     EFT     FPL                                 Utilities                              115.77
 05/30/2014     EFT     State Farm Insurance                1813 NE 27th St Expense                947.13
 06/02/2014    5859     Alternative Home Health             Medical                              1,099.00
 06/02/2014     EFT     Comcast                             Cable TV                                53.32
 06/03/2014    5862     Cruz Painting                       1813 NE 27 St Expense                1,435.00
 06/03/2014     5861    Renae Jefferson                     1813 NE 27 St Expense                  360.00
  06/03/2014   5860     Squeaky Clean                       1813 NE 27 St Expense                  335.00
  06/04/2014    5863    Independence Hall                   Living Expenses                      4,020.00
  06/05/2014    5864    Alternative Home Health             Medical                              1,174.00
  06/06/2014    EFT     City Of Wilton Manors               1813 NE 27 St Stormwater fee            11.80
  06/12/2014    EFT     State Farm Automobile Insurance Insurance Automobile                       850.91
  06/12/2014    5866    Universal Arts                      Prescriptions                           91.52
  06/13/2014    5870    Alternative Home Health             Medical                              1,099.00
  06/13/2014    EFT     AT&T                                Telephone                               56.01



                                         See Independent Accountants' Compilation Report




                                                          EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 52 of 59




                                          GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                                      TRUST ACCOUNTING
                                           FOR THE PERIOD FROM OCTOBER 31, 2011
                                                    THROUGH APRIL 30, 2015

                                               Schedule B - Disbursements During Period
                                              (Does not include purchases of principal assets.
                                              Such transactions are shown on schedule D.)

    Date                       Brief Description of Items                                        Income       Princieal

SUNTRUST CHECKING ACCOUNT                 1405 {continued}
  06/13/2014  5871   Jack Baxter Jr                      Legal Fees                                 368.75        368.75
  06/13/2014  5868   Janice Worobec                      Reimburse Airfare GCA 5/21/14              285.50
  06/16/2014  EFT    FPL                                 Utilities                                   68.11
  06/16/2014  EFT    United American                     Medical Insurance                        3,790.00
  06/20/2014  EFT    Gift to Cliff Abromats                                                                    10,000.00
  06/23/2014  5856   Janice Worobec                      Reimburse Expenses                         449.00
  06/25/2014  5874   Alternative Home Health             Medical                                  1,099.00
  06/25/2014  EFT    City Of Wilton Manors               1813 NE 27 St Expense                       55.52
  06/25/2014  5873   Finest Lawn Care                    1813 NE 27 St Expense                       80.00
  06/26/2014  EFT    FPL                                 Utilities                                   65.54
  07/01/2014  5877   Alternative Home Health             Medical                                  1,099.00
  07/01/2014  EFT    Comcast                             Cable TV                                    53.32
  07/07/2014  5880   Alternative Home Health             Medical                                  1,099.00
  07/07/2014  5879   Independence Hall                   Living Expenses                          3,989.00
  07/17/2014  EFT    AT&T                                Telephone                                   56.01
  07/17/2014  5881   Universal Arts                      Prescriptions                               83.89
  07/18/2014  EFT    FPL                                 Utilities                                   78.41
  07/21/2014  EFT    Gift to Cliff Abromats                                                                      5,000.00
  07/21/2014  5883   Alternative Home Health             Medical                                   1,125.00
  07/22/2014  EFT    FPL                                 Utilities                                    50.01
  07/28/2014  5886   Alternative Home Health             Medical                                   1,099.00
  08/01/2014  5884   Finest Lawn Care                    1813 NE 27 St Expense                        80.00
  08/04/2014  5888   Alternative Home Health             Medical                                   1,099.00
  08/06/2014  EFT    Gift to Cliff Abromats                                                                    10,000.00
  08/08/2014  EFT    Comcast                             Cable TV                                     53.32
  08/08/2014  EFT    FPL                                 Utilities                                    10.70
  08/08/2014  5885   Janice Worobec                      Reimburse                                   645.00
  08/11/2014  5891   Alternative Home Health             Medical                                   1,099.00
  08/11/2014  5892   Alternative Home Health             Medical                                   1,099.00
  08/11/2014  5893   Independence Hall                   Living Expenses                           3,979.00
  08/11/2014  5889   South Florida Imaging               Medical                                       9.72
  08/14/2014   EFT   AT&T                                Telephone                                    53.75
  08/14/2014   EFT   Gift to Cliff Abromats                                                                     10,000.00
  08/19/2014   EFT   AT&T                                Telephone                                    61.47
  08/19/2014  5896   Cliff Abromats                      Reimburse                                 1,015.45
  08/20/2014   EFT   City Of Wilton Manors               1813 NE 27 St Stormwater fee                 98.91
  08/20/2014   EFT   FPL                                 Utilities                                    76.91
  08/22/2014  5898    Alternative Home Health            Medical                                   1,099.00
  08/26/2014  5899    Universal Arts                     Prescriptions                                86.53
  08/27/2014  5901   Alternative Home Health             Medical                                   1,050.00
  09/02/2014  5902    Alternative Home Health            Medical                                   1,099.00
  09/09/2014  5903    Independence Hall                   Living Expenses                          3,991.00
  09/15/2014  5905    Alternative Home Health             Medical                                  1,099.00
  09/15/2014  5906    Alternative Home Health            Medical                                   1,174.00
  09/15/2014   EFT    AT&T                               Telephone                                    60.82
  09/18/2014   EFT    FPL                                 Utilities                                   93.11
   09/22/2014 5904    Universal Arts                      Prescriptions                               98.53
   09/26/2014  5908   Alternative Home Health             Medical                                  1,099.00
   09/30/2014  5910   Alternative Home Health             Medical                                  1,099.00



                                           See Independent Accountants' Compilation Report




                                                             EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 53 of 59




                                          GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                                      TRUST ACCOUNTING
                                           FOR THE PERIOD FROM OCTOBER 31, 2011
                                                    THROUGH APRIL 30, 2015

                                               Schedule B Disbursements During Period
                                              (Does not include purchases of principal assets.
                                              Such transactions are shown on schedule D.)

    Date                       Brief Description of Items                                        Income       Princieal

SUNTRUST CHECKING ACCOUNT #               1405 {continued}
  09/30/2014  EFT    Comcast                             Cable TV                                   116.16
  09/30/2014  5909   Janice Worobec                      Reimburse                                  484.40
  10/08/2014  EFT    Gift to Cliff Abromats                                                                    15,000.00
  10/14/2014  5912   Alternative Home Health             Medical                                  1,099.00
  10/15/2014  5913   Independence Hall                   Living Expenses                          3,959.00
  10/17/2014  5914   Alternative Home Health             Medical                                  1,099.00
  10/21/2014  EFT    AT&T                                Telephone                                   60.82
  10/21/2014  EFT    FPL                                 Utilities                                   71.71
  10/22/2014  5915   Alternative Home Health             Medical                                  1,099.00
  10/27/2014  5918   Internal Revenue Service            Fed                                      1,548.85
  10/28/2014  5917   Universal Arts                      Prescriptions                               97.47
  10/29/2014  EFT    Sun Trust                           Credit Card Payment                         10.00
  10/29/2014  EFT    Gift to Cliff Abromats                                                                      5,000.00
  10/30/2014  5921   Alternative Home Health             Medical                                  1,099.00
  10/30/2014  EFT    Gift to Cliff Abromats                                                                    40,000.00
  10/31/2014  EFT    Comcast                             Cable TV                                    53.32
  10/31/2014  5919   Ahearn Jasco                        Accountant                                 600.00        600.00
  10/31/2014  5920   Ahearn Jasco                        Accountant                                 837.50        837.50
  11/04/2014  5923   Alternative Home Health             Medical                                  1,099.00
  11/10/2014  5925   Independence Hall                   Household                                4,026.00
  11/13/2014  5926   Alternative Home Health             Medical                                  1,099.00
  11/14/2014  EFT    AT&T                                Telephone                                   60.91
  11/14/2014  EFT    Gift to Cliff Abromats                                                                    25,000.00
  11/18/2014  EFT    FPL                                 Utilities                                   70.96
  11/21/2014  5929   Alternative Home Health             Medical                                  1,099.00
  11/21/2014  5927   Universal Arts                      Prescriptions                               90.64
  12/03/2014   EFT   Comcast                             Cable TV                                    53.30
  12/08/2014  5930   Alternative Home Health             Medical                                  1,099.00
  12/08/2014  5931   Alternative Home Health              Medical                                 1,099.00
  12/09/2014  5932   Janice Worobec                      Reimburse                                  262.10
  12/09/2014  5933    Janice Worobec                      Reimburse                                 266.20
  12/09/2014  5934   Independence Hall                   Household                                3,945.00
  12/12/2014  5936   Alternative Home Health              Medical                                 1,174.00
  12/17/2014   EFT    FPL                                 Utilities                                  65.09
  12/17/2014  5937    Universal Arts                      Prescriptions                              89.03
  12/18/2014   EFT    AT&T                                Telephone                                  60.96
   12/18/2014  EFT    State Farm Insurance                1813 NE 27th St Expense                   841.68
   12/23/2014 5940    Alternative Home Health             Medical                                 1,099.00
   12/23/2014 5941    Alternative Home Health             Medical                                 1,099.00
   12/30/2014  5942   United Healthcare Insurance         Medical                                   632.40
   01/05/2015  5943   Alternative Home Health             Medical                                 1,099.00
   01/12/2015  5944   Alternative Home Health             Medical                                 1,174.00
   01/13/2015  EFT    Gift to Cliff Abromats                                                                    42,000.00
   01/15/2015  5945   Independence Hall                   Household                                4,014.00
   01/16/2015  5946   Alternative Home Health             Medical                                  1)36.50
   01/21/2015  EFT    Gift to Cliff Abromats                                                                     5,000.00
   01/22/2015  EFT    FPL                                  Utilities                                  74.28
   01/26/2015  5947   Alternative Home Health             Medical                                  1,974.00
   01/27/2015  EFT    AT&T                                 Telephone                                  65.00



                                            See Independent Accountants' Compilation Report




                                                             EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 54 of 59




                                      GLORIA J. ABROMATS TRUST UA OTO 9/15/2005
                                                  TRUST ACCOUNTING
                                       FOR THE PERIOD FROM OCTOBER 31, 2011
                                                THROUGH APRIL 30, 2015

                                            Schedule B Disbursements During Period
                                           (Does not include purchases of principal assets.
                                           Such transactions are shown on schedule D.)

   Date                    Brief Description of Items                                         Income       Principal

SUNTRUST CHECKING ACCOUNT #              1405 {continued}
  01/28/2015   EFT    Suntrust                             Check Order                             8.00
  01/29/2015   271    Janice Worobec                       Gifts                                           14,000.00
  01/30/2015   5948   Alternative Home Health              Medical                               771.50
  02/03/2015   5950   Universal Arts                       Prescriptions                         125.00
  02/09/2015   5951   Alternative Home Health              Medical                             1,519.00
  02/17/2015   5952   Alternative Home Health              Medical                             1,434.00
  02/17/2015   5953   Independence Hall                    Household                           3,945.00
  02/18/2015   EFT    FPL                                  Utilities                              51.07
  02/20/2015   5955   Alternative Home Health              Medical                             1,561.00
  02/25/2015   5954   Universal Arts                       Prescriptions                         135.79
  03/02/2015   EFT    Gift to Cliff Abromats                                                                  5,000.00
  03/04/2015   EFT    AT&T                                 Telephone                              75.00
  03/04/2015   5958   Alternative Home Health              Medical                             1,519.00
  03/05/2015   EFT    Comcast                              Cable TV                               55.31
  03/09/2015   5956   Letitia Abromats                     Gifts                                           14,000.00
  03/09/2015   5957   Philip Abromats                      Gifts                                           14,000.00
  03/11/2015   EFT    AT&T                                 Telephone                              80.00
  03/12/2015   5959   Alternative Home Health              Medical                             1,519.00
  03/13/2015   5963   Independence Hall                    Household                           3,945.00
  03/16/2015   5964   Alternative Home Health              Medical                             1,519.00
  03/18/2015    272   Manor Oaks                           Medical                             4,086.00
  03/19/2015   EFT    FPL                                  Utilities                              65.42
  03/19/2015    273   Willie Lakes                         Furniture reimbursement               250.00
  03/23/2015   EFT    FPL                                  Utilities                               3.22
  03/31/2015   5966   Universal Arts                       Prescriptions                          33.28
  03/31/2015   5969   Janice Worobec                       Reimburse GCA airfare                 173.10
  03/31/2015   5967   Janice Worobec                       Reimburse - GCA airfare               217.10
  03/31/2015   5968   Janice Worobec                       Reimburse - JJW airfare               302.20
  03/31/2015   5960   Janice Worobec                       Reimburse                             399.00
  04/06/2015   EFT     U.S. Treasury                       Check Reversal                      1,944.00
  04/27/2015   EFT    Comcast                              Cable TV                               20.72
  04/29/2015   5971   Skin Care Physicians                 Medical                                13.25
  05/01/2015   5970   Universal Arts                       Prescriptions                          74.16
  05/12/2015   5973    Edward Walker, MD                   Medical                               133.75
  05/26/2015   5975   Alternative Home Health              Medical                             1,050.00
  05/26/2015   5976   Alternative Home Health              Medical                             1,519.00
  05/29/2015   5974    Jack Baxter Jr                      Legal Fees                            221.25        221.25

SUNTRUST CHECKING ACCOUNT          44383
  12/21/2011          Suntrust                             Bank Charge                              8.00
  01/06/2012   5003   Unidentified payee                                                        1,475.00
  01/07/2012   101    Cliff Abromats                       Gifts                                             13,000.00
  01/07/2012   102    Janice Worobec                       Gifts                                             13,000.00
  01/07/2012   103    Philip Abromats                      Gifts                                             13,000.00
  01/07/2012   104    Letitia Abromats                     Gifts                                             13,000.00
  01/25/2012   5001   Unidentified payee                                                          434.00
  01/26/2012          Suntrust                             Service Charge                          15.00
  01/26/2012   5002   Unidentified payee                                                        1,504.50
  01/30/2012   5004   Alternative Home Health              Medical                                837.00



                                       See Independent Accountants' Compilation Report




                                                          EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 55 of 59




                                      GLORIA J. ABROMATS TRUST UA OTO 9/15/2005
                                                  TRUST ACCOUNTING
                                       FOR THE PERIOD FROM OCTOBER 31, 2011
                                                THROUGH APRIL 30, 2015

                                           Schedule B - Disbursements During Period
                                          (Does not include purchases of principal assets.
                                          Such transactions are shown on schedule D.)

   Date                    Brief Description of Items                                          Income        Principal

SUNTRUST CHECKING ACCOUNT           4383 (continued)
  01/30/2012   5005   Alternative Home Health             Medical                                1,999.50
  02/06/2012   5006   Universal Arts                      Prescriptions                            252.32
  02/08/2012          Gift to Cliff Abromats                                                                   65,000.00
  02/13/2012   5007   Unidentified payee                                                          700.40
  04/02/2012          Gift to Cliff Abromats                                                                    2,295.28
  04/16/2012          GJA Petty cash                      GJA Petty cash                          500.00
  05/24/2012          Gift to Cliff Abromats                                                                   23,400.00
  07/09/2012          Gift to Cliff Abromats                                                                   25,000.00
  07/16/2012          Gift to Cliff Abromats                                                                   10,000.00
  07/18/2012          Suntrust                            Bank Charge/checks                       12.25
  08/02/2012          Gift to Cliff Abromats                                                                   10,000.00
  08/24/2012          Gift to Cliff Abromats                                                                   15,000.00
  09/27/2012          Gift to Cliff Abromats                                                                   15,000.00
  10/22/2012          Gift to Cliff Abromats                                                                   20,000.00
  05/13/2013          Gift to Cliff Abromats                                                                   20,000.00
  05/30/2013          Gift to Cliff Abromats                                                                   10,000.00
  08/16/2013          Gift to Cliff Abromats                                                                    5,000.00
  08/28/2013          Suntrust                            Service Charge                            15.00
  09/09/2013          Gift to Cliff Abromats                                                                   30,000.00
  09/26/2013          Suntrust                            Service Charge                            15.00
  09/30/2013          Gift to Cliff Abromats                                                                    5,000.00
  12/16/2013          Gift to Cliff Abromats                                                                   15,000.00

                                                                                             $518,842.00    $811,491.21




                                        See Independent Accountants' Compilation Report




                                                         EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 56 of 59




                                                                                         I
                     GLORIA J. ABROMATS TRUST UA OTO 9/15/2005
                                 TRUST ACCOUNTING
                       FOR THE PERIOD FROM OCTOBER 31 1 2011
                               THROUGH APRIL 30, 2015


                                 Schedule C - Distributions

      Date               Brief Description of Items                 Income   Principal




                      See Independent Accountants' Compilation Report




                                        EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 57 of 59




                                                                                                                              I
                                     GLORIA J. ABROMATS TRUST UA OTO 9/15/2005
                                                 TRUST ACCOUNTING
                                       FOR THE PERIOD FROM OCTOBER 31, 2011
                                               THROUGH APRIL 30, 2015

                                     Schedule D - Capital Transactions and Adjustments
                        {Does not include disbursements. Disbursements are shown on Schedule C.}

                                                                                                     Net           Net
   Date                                                            Proceeds         Cost             Gain          Loss


 12/23/2011   Sale of 2473.574 shs Fidelity Secs Growth           $ 45,286.14    $ 1,372.94       $ 43,913.20
                & Income Portfolio

  7/11/2012   Received into Wells Fargo Brokerage Account:
               28 shs Frontier Communications                                                          112.84
               50 shs National Grid PLC                                                              2,686.00
               120 shs Verizon Communications                                                        5,388.00
               87 shs Vodafone Group PLC                                                             2,487.33

  7/11/2012   Sale of 120 shs Verizon Commications                   5,119.12        5,388.00                        268.88

  8/16/2012   Sale of 28 shs Frontier Communications                   102.73            112.84                       10.11

  8/16/2012   Sale of 50 shs National Grid PLC                       2,658.06        2,686.00                         27.94

  8/16/2012   Sale of 87 shs Vodafone Group PLC                      2,463.58        2,487.33                         23.75

  8/21/2012   Sale of 7500 shs EQT Corp                            430,185.34                      430,185.34

  11/5/2012   Sale of 100 shs Apple Inc. (purchased 6/4/2012)       58,090.86      69,369.77                      11,278.91

  1/17/2013   Sale of 2000 shs Yum Brands Inc                      129,740.00     103,759.04        25,980.96

   5/3/2013   Sale of 200 shs Chipotle Mexican Grill                73,354.93      73,897.12                         542.19

  5/24/2014   Sale of 1000 shs Ventas Inc.                          75,910.48      74,845.35          1,065.13

 10/10/2013   Sale of 250 shs Boeing Inc                            29,082.37      21,237.17          7,845.20

  2/13/2014   Sale of 500 shs Time Warner Cable                     71,850.93       68,694.54         3,156.39

   9/3/2014   Sale of 750 shs Boeing Co                             93,602.91       63,711.50        29,891.41

   1/8/2015   Sale of 500 shs Home Depot Inc                        26,377.81       15,734.42        10,643.39

   1/8/2015   Sale of 250 shs Lowes Companies                       17,187.25        8,369.91         8,817.34

  3/20/2015   Sale of 250 shs Home Depot Inc.                       29,141.17       15,734.41        13,406.76


                                                                                                  $ 585,579.29   $12,151.78




                                       See Independent Accountants' Compilation Report




                                                          EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 58 of 59




                                        GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                                    TRUST ACCOUNTING
                                          FOR THE PERIOD FROM OCTOBER 31, 2011
                                                  THROUGH APRIL 30, 2015


                                    Schedule E - Assets on Hand at Close of Accounting Period

                                                                                      Carrying Value                  Estimated
                                                                         Income         Principal         Total      Current Value



CASH AND CASH EQUIVALENTS

Suntrust Checking Account              '1405                                          $ 17,735.06      $ 17,735.06   $    17,735.06

Wells Fargo Advisors        -8943                                                          5,387.33       5,387.33         5,387.33


INVESTMENTS HELD IN WELLS FARGO BROKERAGE

1400 shs        Apple Inc. purchased 8/14/2013                                          100,079.22      100,079.22       175,210.00

500 shs         Home Depot Inc purchased 11/2/2012                                        31,468.82      31,468.82        53,490.00

750 shs         Lowes Companies Inc purchased 11/2/2012                                   25,109.70      25,109.70        51,645.00


NOTES RECEIVABLE FROM PHILIP AND LETITIA ABROMATS

Note dated 1/8/0/08; 5% interest, due on demand after 8/15/11                             34,000.00      34,000.00        34,000.00

Note dated 2/29/08; 5% interest, due on demand after 8/15/11                              25,000.00      25,000.00        25,000.00

Note dated 7/9/08; 5% interest, due within 21 days of receipt of EQT                      75,000.00      75,000.00        75,000.00

Note dated 2/24/09; 5% interest, due 2/23/14                                              75,000.00      75,000.00        75,000.00

Note dated 5/6/09; 5% interest, due 5/5/14                                                55,000.00      55,000.00        55,000.00

LOAN RECEIVABLE - Cliff Abromats, dated March 26, 2105                                    20,000.00      20,000.00        20,000.00


                                                                     $                 $463,780.13     $463,780.13   $ 587,467.39




                                             See Independent Accountants' Compilation Report




                                                               EXHIBIT A
Case 0:16-cv-60653-BB Document 1-1 Entered on FLSD Docket 03/28/2016 Page 59 of 59


                                               GLORIA J. ABROMATS TRUST UA DTD 9/15/2005
                                                           TRUST ACCOUNTING
                                                FOR THE PERIOD FROM OCTOBER 31, 2011
                                                         THROUGH APRIL 30, 2015


                                        Schedule F    Assets on Hand at Beginning of Accounting Period

                                                                                                         Carrying Value
                                                                                               Income      Principal         Total


CASH AND CASH EQUIVALENTS

Suntrust Checking Account              1405                                                              $ 58,311.18      $ 58,311.18

Wells Fargo Advisors        8943                                                                           112,819.10      112,819.10

Money held by Cliff Abromats for the benefit of Gloria Abromats (deposited on 11/17/11)                    110,735.43      110,735.43

INVESTMENTS HELD IN WELLS FARGO BROKERAGE

7500 shs        EQT Corp

2000 sh         Yum Brands Inc.                                                                            103,759.04      103,759.04

2460.915 shs    Fidelity Secs Fd Growtth & Income Port                                                       1,144.07        1,144.07

NOTES RECEIVABLE FROM PHILIP AND LETITIA ABROMATS

Note dated 1/8/08; 5% interest, due on demand after 8/15/11                                                 34,000.00       34,000.00

Note dated 2/29/08; 5% interest, due on demand after 8/15/11                                                25,000.00       25,000.00

Note dated 7/9/08; 5% interest, due within 21 days of receipt of EQT                                        75,000.00       75,000.00

Note dated 2/24/09; 5% interest, due 2/23/14                                                                75,000.00       75,000.00

Note dated 5/6/09; 5% interest, due 5/5/14                                                                  55,000.00       55,000.00



                                                                                           $             $ 650,768.82     $ 650.768.82




                                                                 EXHIBIT A
